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 6   a Minor, by and through his Guardian ad Litem,
 7   JULIETTE LEVY
 8

 9
10                        UNITED STATES DISTRICT COURT

11                      CENTRAL DISTRICT OF CALIFORNIA

12 JACOB LEVY, a Minor, by and through          Case No. 8:22-cv-00431
     his Guardian ad Litem, JULIETTE LEVY,
13

14                    Plaintiff,                COMPLAINT FOR
15
          v.                                          (1) Negligence
16
                                                      (2) Strict Liability (Failure to Warn)
17
   MERCK & CO., INC., and
                                                      (3) Strict Liability (Manufacturing
18   MERCK SHARP & DOHME CORP,                            Defect)
19                                                    (4) Breach of Warranty

20
                      Defendants.                     (5) Common Law Fraud
                                                      (6) Violation of California’s Unfair
21
                                                          Competition Law
22

23                                              DEMAND FOR JURY TRIAL
24

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 1        COMES NOW Plaintiff, JACOB LEVY, by and through his Guardian ad Litem,
 2 JULIETTE LEVY, who by and through counsel Anthony A. Liberatore of A.

 3 LIBERATORE, P.C., and alleges against defendants MERCK & CO., INC., and

 4 MERCK, SHARP & DOHME CORP., and each of them, as follows:

 5                                     INTRODUCTION
 6        1.    This common-law products liability, negligence, strict liability, breach of
 7 warranty and fraud action arises out of serious and debilitating injuries, including but not

 8 limited to autonomic, neurological and heterogenous autoimmune injuries and resulting

 9 sequalae that plaintiff, JACOB LEVY (“Plaintiff”), sustained as a result of receiving
10 injections of the Gardasil vaccine, which was manufactured, labeled, and promoted by

11 defendants Merck & Co., Inc., and Merck, Sharp & Dohme Corp. (collectively “Merck”).

12                                 PARTIES AND VENUE
13        2.    Plaintiff, JACOB LEVY, by and through his Guardian ad Litem, JULIETTE
14 LEVY, (“Levy” or “Plaintiff”), is a Minor and a resident and citizen of California.

15        3.    Defendant Merck & Co., Inc., is a New Jersey corporation with its principal
16 place of business at One Merck Drive, Whitehouse Station, New Jersey.

17        4.    Defendant Merck, Sharp and Dohme Corporation, is a New Jersey
18 corporation with its principal place of business at One Merck Drive, Whitehouse Station,

19 New Jersey.

20        5.    Defendants Merck & Co., Inc., and Merck, Sharp and Dohme Corporation
21 shall hereinafter collectively be referred to as “Merck.”

22        6.    At all times herein mentioned, each defendant was the agent, servant,
23 partner, aider and abettor, co-conspirator and/or joint venturer of the other defendants

24 named herein and was at all times operating and acting within the purpose and scope of

25 said agency, service, employment, partnership, conspiracy and/or joint venture and

26 rendered substantial assistance and encouragement to the other defendants, knowing that

27 their collective conduct constituted a breach of duty owed to Plaintiff.

28       7.     At all times herein mentioned, defendants were fully informed of the actions

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 1 of their agents and employees, and thereafter no officer, director or managing agent of

 2 defendants repudiated those actions, which failure to repudiate constituted adoption and

 3 approval of said actions and all defendants and each of them, thereby ratified those

 4 actions.

 5        8.    There exists and, at all times herein mentioned there existed, a unity of
 6 interest in ownership between the named defendants, such that any individuality and

 7 separateness between the defendants has ceased and these defendants are the alter-ego of

 8 each other and exerted control over each other. Adherence to the fiction of the separate

 9 existence of these two named defendants as entities distinct from each other will permit
10 an abuse of the corporate privilege and would sanction a fraud and/or would promote

11 injustice.

12        9.    At all times herein mentioned, the two Merck defendants were engaged in
13 the business of, or were successors in interest to, entities engaged in the business of

14 researching, formulating, compounding, testing, manufacturing, producing, processing,

15 assembling, inspecting, distributing, marketing, labeling, promoting, packaging,

16 prescribing and/or advertising for sale, and selling products for use by patients such as

17 Plaintiff and his medical providers.      As such, the two Merck defendants are each
18 individually, as well as jointly and severally, liable to Plaintiff for his damages.

19        10.   The harm caused to Plaintiff resulted from the conduct of one or various
20 combinations of the two Merck defendants, and through no fault of Plaintiff. There may
21 be uncertainty as to which one or which combination of the two Merck defendants caused

22 the harm. The two Merck defendants have superior knowledge and information on the

23 subject of which one or which combination of the two defendants caused Plaintiff’s

24 injuries. Thus, the burden of proof should be upon each of the two Merck defendants to

25 prove that the defendant has not caused the harms Plaintiff has suffered. As previously

26 stated, the two named Merck defendants shall hereinafter and throughout this Complaint

27 be collectively referred to as “Merck.”

28        11.   Merck is the manufacturer, labeler and promoter of the Gardasil and

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 1 Gardasil-9 vaccines, which are purported to be “cervical cancer vaccines” and “anal

 2 cancer vaccines” by preventing a handful of the hundreds of strains of the Human

 3 Papillomavirus (“HPV”). Merck regularly conducts and transacts business in California

 4 and has promoted Gardasil to consumers, patients, hospitals, physicians, nurses and

 5 medical professionals, including but not limited to Plaintiff, and the medical facility and

 6 medical professionals who prescribed and/or injected Plaintiff with Gardasil. This Court

 7 has personal jurisdiction over Merck because defendants have sufficient minimum

 8 contacts with California to render the exercise of jurisdiction by this Court proper.

 9        12.   This Court has subject matter jurisdiction over the parties pursuant to 28
10 U.S.C. §1332(a) because Plaintiff and the defendants are citizens of different states and

11 the amount of controversy exceeds $75,000.00, exclusive of interest and costs.

12        13.   Venue is proper in this Court pursuant to 28 U.S.C. §1391 because a
13 substantial portion of the events and omissions giving rise to the claims asserted herein

14 occurred in this District.

15                               GENERAL ALLEGATIONS
16       I.     “History Doesn’t Repeat Itself, But It Often Rhymes” – Mark Twain
17        14.   Merck traces its history back to 1668, when the original founder of the
18 company, Friedrich Jacob Merck, bought an apothecary in Darmstadt, Germany. The

19 company operated as a pharmacy for approximately the next 150+ years when, in 1827,

20 Friedrich’s descendant, Heinrich Emmanuel Merck, converted the company into a drug
21 manufacturing enterprise. Merck’s first products included morphine and cocaine.

22        15.   Merck later manufactured a number of controversial products including
23 Fosamax (a purported bone density drug that caused bone fractures), Nuvaring (a birth

24 control device associated with life-threatening blood clots and death), and probably its

25 most infamous drug, Vioxx (a pain medication Merck was forced to pull from the market

26 due to its cardiovascular risks), all of which landed Merck in litigation hot water.

27        16.   With regard to Vioxx, Merck was sued by tens of thousands of patients who
28 alleged they suffered heart attacks and other cardiovascular injuries as a result of

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                                    COMPLAINT
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 1 ingesting the blockbuster pain medication.

 2        17.   Documents unsealed during the Vioxx litigation in the early 2000s revealed
 3 a culture wherein Merck knew early on that Vioxx was linked to fatal cardiovascular

 4 adverse events but nonetheless intentionally chose to conceal these risks from the public

 5 and medical community and, instead, orchestrated a scheme to downplay the severity of

 6 the risks. Merck misrepresented the results of its clinical trials, failed to undertake the

 7 clinical trials that would reveal risks, and blacklisted medical professionals who dared to

 8 publicly criticize the safety of Vioxx. See e.g., Eric J. Topol, Failing the Public Health

 9 – Rofecoxib, Merck, and the FDA, 351 NEW ENGLAND JOURNAL OF MEDICINE 1707
10 (2004); Gregory D. Curfman et al., Expression of Concern Reaffirmed, 354 NEW

11 ENGLAND JOURNAL OF MEDICINE 1193 (2006); Aaron S. Kesselheim et al., Role of

12 Litigation in Defining Drug Risks, 17 JAMA 308 (2007); Harlan M. Krumholz et al.,

13 What We Have Learnt From Vioxx, 334 BRITISH MED. J. 120 (2007).

14        18.   The British Medical Journal reported that internal documents and
15 communications obtained from Merck during litigation revealed that Merck scientists

16 internally acknowledged the existence of Vioxx’s risks very early on: “Since the early

17 development of [Vioxx], some scientists at Merck were concerned that the drug might

18 adversely affect the cardiovascular system … In internal emails made public through

19 litigation, Merck officials sought to soften the academic authors’ interpretation [of the

20 data]. The academic authors changed the manuscript at Merck’s request [to make less of
21 the apparent risk] …” Harlan M. Krumholz et al., What We Have Learnt From Vioxx,

22 334 BRITISH MED. J. 120 (2007). And, despite Merck’s knowledge of the risk, Merck

23 never conducted the necessary studies designed to evaluate cardiovascular risk. Id.

24        19.   In an article published in the Journal of the American Medical Association,
25 it was reported that Merck worked to “diminish the impact of reported cardiovascular

26 adverse effects by not publishing adverse events and failing to include complete data on

27 myocardial infarctions that occurred during a key clinical trial. The information came to

28 the public attention through a subpoena 5 years after the article’s publication, when

                                        9
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 1 [Vioxx] was already off the market.” Aaron S. Kesselheim et al., Role of Litigation in

 2 Defining Drug Risks, 17 JAMA 308 (2007). The article concludes: “These case studies

 3 indicate that clinical trials and routine regulatory oversight as currently practiced often

 4 fail to uncover important adverse effects for widely marketed products. In each instance,

 5 the litigation process revealed new data on the incidence of adverse events, enabled

 6 reassessment of drug risks through better evaluation of data, and influenced corporate

 7 and regulatory behavior.” Id.

 8        20.   It was also revealed and reported that, in order to control the public narrative
 9 that   Vioxx was safe and risk free, “Merck issued a relentless series of
10 publications…complemented by numerous papers in peer-reviewed medical literature by

11 Merck employees and their consultants. The company sponsored countless continuing

12 medical ‘education’ symposiums at national meetings in an effort to debunk the concern

13 about adverse cardiovascular effects.”       Eric J. Topol, Failing the Public Health –
14 Rofecoxib, Merck, and the FDA, 351 NEW ENGLAND JOURNAL OF MEDICINE 1707 (2004).

15 In addition, Merck “selectively targeted doctors who raised questions about [Vioxx],

16 going so far as pressuring some of them through department chairs.”              Harlan M.
17 Krumholz et al., What We Have Learnt From Vioxx, 334 BRITISH MED. J. 120 (2007).

18 Dr. Topol, Chairman of the Department of Cardiovascular Medicine at the Cleveland

19 Clinic, commented: “Sadly, it is clear to me that Merck’s commercial interest in [Vioxx]

20 sales exceeded its concern about the drug’s potential cardiovascular toxicity.” Eric J.
21 Topol, Failing the Public Health – Rofecoxib, Merck, and the FDA, 351 NEW ENGLAND

22 JOURNAL OF MEDICINE 1707 (2004).

23        21.   Once Merck’s misdeeds vis-à-vis Vioxx were revealed in various jury trials,
24 Merck paid nearly $5 billion to settle the tens of thousands of personal injury actions that

25 had been brought against it as a result of its concealment of Vioxx’s cardiovascular risks.

26 Merck paid an additional $1 billion to settle a securities class action brought by investors

27 who had lost money when Merck’s stock tanked following revelations of the drug’s risks

28 and subsequent lost sales. Merck was also forced to pay $950 million in civil and

                                        10
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 1 criminal fines to the Department of Justice and other governmental entities as a result of

 2 various criminal activities Merck had engaged in with respect to Vioxx.

 3        22.   In 2005, Merck pulled Vioxx from the market and was desperate to find a
 4 replacement for its previous multi-billion-dollar blockbuster.

 5        23.   Gardasil was viewed as the answer to the financial woes Merck had suffered
 6 from Vioxx.

 7        24.   Indeed, some have euphemistically noted that HPV stood for “Help Pay for
 8 Vioxx.”

 9        25.   In the aftermath of the Vioxx scandal, and seeking a replacement product,
10 Merck’s senior director of clinical research, Eliav Barr, M.D., proclaimed of Gardasil:

11 “This is it. This is the Holy Grail!”

12       II.    In Bringing Its Holy Grail, Gardasil, to Market, Merck Engaged in the
                Same Fraudulent Research and Marketing It Had Engaged in Vis-à-vis
13
                Vioxx Resulting In Patients Being Exposed to a Vaccine That is Of
14              Questionable Efficacy and Which Can Cause Serious and Debilitating
                Adverse Events
15

16        26.   As outlined herein, in researching, developing, and marketing its new Holy
17 Grail, Gardasil, Merck engaged in the same unscrupulous tactics it had so infamously

18 engaged in with Vioxx.

19        27.   Certain Merck employees, scientists and executives involved in the Vioxx
20 scandal were also involved with Gardasil, and it appears they employed the very same
21 methods of manipulating science and obscuring risks as they did with Vioxx.

22        28.   According to Merck’s marketing claims, Gardasil (and, later, next-
23 generation Gardasil 9) provided lifetime immunity to cervical, anal and other HPV-

24 associated cancers.

25        29.   As discussed more fully below, whether Gardasil prevents cancer (not to
26 mention lifetime immunity), is unproven. In fact, it may be more likely to cause cancer

27 in those previously exposed to HPV than to prevent it.

28        30.   Moreover, Merck knows and actively conceals the fact that Gardasil can

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 1 cause a constellation of serious adverse reactions and gruesome diseases, including

 2 autoimmune diseases, and death in some recipients.

 3          31.   As a result of Merck’s fraud, Gardasil today is wreaking havoc on a
 4 substantial swath of an entire generation of children and young adults on a worldwide

 5 scale.

 6                A. Overview of the Human Papillomavirus
 7          32.   Human Papillomavirus (“HPV”) is a viral infection that is passed between
 8 people through skin-to-skin contact. There are more than 200 strains of HPV, and of

 9 those, more than 40 strains can be passed through sexual contact.
10          33.   HPV is the most common sexually transmitted disease. It is so common that
11 the majority of sexually active people will get it at some point in their lives, even if they

12 have few sexual partners.

13          34.   HPV, for the most part, is benign. More than 90 percent of HPV infections
14 cause no clinical symptoms, are self-limited, and are removed from the human body by

15 its own immunological mechanisms and disappear naturally from the body following an

16 infection. See, e.g., Antonio C. de Freitas et al., Susceptibility to cervical cancer: An

17 Overview, 126 GYNECOLOGIC ONCOLOGY 306 (August 2012).

18          35.   Approximately 12 to 18 of the over 200 strains of HPV are believed to be
19 associated with cervical cancer, and approximately six of the strains are believed to be

20 associated with anal
21 cancer.

22          36.   Not every HPV infection puts one at risk for cervical cancer. Only persistent
23 HPV infections – not short-term or transient infections or sequential infections with

24 different HPV types – in a limited number of cases with certain strains of the virus may

25 cause the development of precancerous lesions. With respect to cervical cancer, these

26 precancerous lesions are typically diagnosed through Pap smears and then removed

27 through medical procedures. However, when undiagnosed, they may in some cases

28 progress to cervical cancer in some women. Other risk factors, such as smoking, are also

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 1 associated with cervical cancer. See Antonio C. de Freitas et al., Susceptibility to cervical

 2 cancer: An Overview, 126 GYNECOLOGIC ONCOLOGY 305 (August 2012). Infection with

 3 certain types of HPV are also associated with other diseases, such as genital warts.

 4        37.   Public health officials have long recommended the Pap test (also known as
 5 Pap Smear), which detects abnormalities in cervical tissue, as the most effective frontline

 6 public health response to the disease.

 7        38.   Since its introduction, cervical cancer screening through the Pap test has
 8 reduced the rates of cervical cancer in developed countries by up to 80 percent. Id.

 9        39.   Incidences of cervical cancer have been declining dramatically worldwide
10 as countries have implemented Pap screening programs.

11        40.   New cases of cervical cancer in the U.S. affect approximately 0.8 percent of
12 women in their lifetime. See Cancer Stat Facts: Cervical Cancer, NIH, at

13 https://seer.cancer.gov/statfacts/html/cervix.html. For those who are diagnosed, cervical

14 cancer is largely treatable, with a five-year survival rate of over 90 percent when the

15 cancer is caught early. See Antonio C. de Freitas et al., Susceptibility to cervical cancer:

16 An Overview, 126 GYNECOLOGIC ONCOLOGY 305 (August 2012). Anal cancer is even

17 more rare, and according to the current data, approximately 0.2 percent of people will be

18 diagnosed with anal cancer in their lifetime.

19        41.   Although the incidence of cervical cancer was in rapid decline as a result of
20 the implementation of routine testing and screening, including the Pap test and various
21 DNA testing measures, Merck sought to fast-track a vaccine onto the market to prevent

22 infection from four types of HPV (only two of which are associated with cancer).

23              B. Overview of the Gardasil Vaccine and Its Fast-Tracked Approval
24        42.   While there are over 200 types of the HPV virus, only 12 to 18 types
25 currently are considered potentially associated with cervical or anal cancer. Merck’s

26 original Gardasil vaccine claimed to prevent infections from four strains (HPV Strain

27 Types 6, 11, 16 and 18) and only two of those (Types 16 and 18) were associated with

28 cervical and anal cancer.

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 1        43.      Under Food and Drug Administration (“FDA”) requirements, to obtain
 2 approval for marketing a vaccine, the manufacturer must conduct studies to test the

 3 effectiveness and safety of the vaccine.          Once FDA approval is obtained, the
 4 manufacturer has a duty to perform any further scientific and medical investigation as a

 5 reasonably prudent manufacturer would perform, and to engage in any necessary post-

 6 marketing pharmacovigilance related to the product.

 7        44.      The FDA approved Gardasil on June 8, 2006, after granting Merck fast-track
 8 status and speeding the approval process to a six-month period, leaving unanswered

 9 material questions relating to its effectiveness and safety as well as when and to whom
10 the Gardasil vaccine ought to be administered.

11        45.      Merck failed, during the preapproval processing period and thereafter, to
12 disclose (to the FDA and/or the public), material facts and information relating to the

13 effectiveness and safety of Gardasil, as well as to whom the vaccine should or should not

14 be administered.

15        46.      Merck failed to perform in the preapproval processing period and thereafter,
16 scientific and medical investigations and studies relating to the safety, effectiveness and

17 need for the Gardasil vaccine as either required by and under FDA directives and

18 regulations, and/or those which a prudent manufacturer should have conducted

19 unilaterally.

20        47.      In June 2006, after the FDA’s fast-tracked review, Gardasil was approved
21 for use in females ages nine through 26 for the purported prevention of cervical cancer

22 and, almost immediately thereafter, the Advisory Committee on Immunization Practices

23 (“ACIP”), a committee within the Centers for Disease Control (“CDC”), recommended

24 Gardasil for routine vaccination of adolescent girls ages eleven and twelve years old, but

25 also allowed it to be administered to girls as young as nine years old.

26        48.      On October 16, 2009, the FDA approved Gardasil for use in boys ages nine
27 through 26 for the prevention of genital warts caused by HPV types 6 and 11, and in

28 December 2010, it approved Gardasil for the purported prevention of anal cancer in

                                        14
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 1 males and females ages nine through 26.

 2        49.   Subsequently, Merck sought approval for Gardasil 9 (containing the same
 3 ingredients as Gardasil, but in higher quantities), which purportedly guarded against five

 4 additional HPV strains currently associated with cervical cancer and anal cancer (HPV

 5 Types 31, 33, 45, 52 and 58) than the original Gardasil, for a total of nine strains.

 6        50.   The FDA approved Gardasil 9 in December 2014, for use in girls ages nine
 7 through 26 and boys ages nine through 15 for the purported prevention of cervical,

 8 vaginal, and anal cancers. Presently, Gardasil 9 has been approved for and is being

 9 promoted by Merck to males and females who are between nine and 45 years of age, with
10 an emphasis by Merck on marketing to pre-teen children and their parents. With little

11 evidence of efficacy, the FDA also recently approved, on an accelerated basis, Gardasil

12 9 for prevention of oropharyngeal and other head and neck cancers.

13        51.   After the approval of the Gardasil 9 vaccine, the original Gardasil vaccine
14 was phased out of the U.S. Market; and the original Gardasil vaccine is no longer

15 available for sale in the United States.

16        52.   According to data from the National Cancer Institute’s (“NCI”) Surveillance,
17 Epidemiology and End Results Program (“SEER”), the incidence of deaths from cervical

18 cancer prior to Gardasil’s introduction in the United States had been steadily declining

19 for years and, in 2006, was 2.4 per 100,000 women or approximately 1 in every 42,000

20 women. The currently available rate is essentially unchanged, 2.2 per 100,000 women,
21 based on data through 2017.

22        53.   The median age of death from cervical cancer is 58, and death from anal
23 cancer is 66, and teenagers (who are the target population of Gardasil) essentially have

24 zero risk of dying from cervical or anal cancer.

25        54.   Merck purchased fast-track review for Gardasil and Gardasil 9 under the
26 Prescription Drug User Fee Act (“PDUFA”). Fast-track is a process designed to facilitate

27 the development of drugs, and to expedite their review, in order to treat serious conditions

28 and fill an unmet medical need.

                                        15
                                    COMPLAINT
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 1        55.   Anxious to get Gardasil onto the market as soon as possible following the
 2 Vioxx debacle, Merck sought fast-track approval even though there already existed a

 3 highly effective and side-effect free intervention, Pap smears, with no evidence that

 4 Gardasil was potentially superior to Pap smears in preventing cervical cancer.

 5        56.   In fact, the clinical trials Merck undertook did not even examine Gardasil’s
 6 potential to prevent cancer, rather, the trials only analyzed whether Gardasil could

 7 prevent potential precursor conditions, i.e., HPV infections and cervical interepithelial

 8 neoplasia (“CIN”) lesions graded from CIN1 (least serious) to CIN3 (most serious), the

 9 vast majority of which resolve on their own without intervention. CIN2 and CIN3 were
10 the primary surrogate endpoints studied. Likewise, the clinical trials from Gardasil did

11 not examine Gardasil’s potential to prevent anal cancer, rather, the trials similarly only

12 look at anal intraepithelial neoplasia (“AIN”) lesions graded 1 through 3, and the Gardasil

13 9 studies did not even include any studies concerning the efficacy of Gardasil in

14 preventing anal lesions.

15        57.   According to the FDA, whether a condition is “serious” depends on such
16 factors as “survival, day-to-day functioning, or the likelihood that the condition, if left

17 untreated, will progress from a less severe condition to a more serious one.”

18        58.   As previously discussed, over 90 percent of HPV infections and the majority
19 of cervical dysplasia, resolve without intervention.

20        59.   However, Merck presented misleading data to the FDA suggesting that CIN2
21 and CIN3 inexorably result in cancer.

22        60.   Federal law allows fast-track approval when there is no existing intervention
23 to treat the targeted disease or where the proposed treatment is potentially superior to an

24 existing treatment.

25        61.   Merck knows (and knew) that Gardasil and Gardasil 9 are far less effective
26 than Pap tests in preventing cervical cancer.

27        62.   In order to obtain FDA approval, Merck designed and conducted a series of
28 fraudulent Gardasil studies and then influenced the votes of the FDA’s Vaccines and

                                        16
                                    COMPLAINT
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 1 Related Biological Products Advisory Committee (“VRBPAC”) and the CDC’s

 2 Advisory Committee on Immunization Practices (“ACIP”) to win both an FDA license

 3 and a CDC/ACIP approval and recommendation that all 11 and 12 year old girls should

 4 be vaccinated with Gardasil.

 5        63.   That ACIP “recommendation” was, effectively, a mandate to doctors to sell
 6 Merck’s very expensive vaccine, thereby compelling parents of American children as

 7 young as nine years old to buy this expensive product. With ACIP’s recommendation,

 8 Merck was emboldened to build demand through direct-to-consumer advertising and

 9 door-to-door marketing to doctors, and, with the ACIP’s blessing of the vaccine,
10 circumvented the need to create a traditional market for the product.

11        64.   Julie Gerberding, then the Director of CDC, obligingly ushered the Gardasil
12 vaccine through CDC’s regulatory process manifestly ignoring clear evidence that

13 Gardasil’s efficacy was unproven and that the vaccine was potentially dangerous.

14        65.   Merck, shortly thereafter, rewarded Gerberding by naming her President of
15 Merck Vaccines in 2010.

16        66.   In addition to the revolving regulatory/industry door, (wherein the Director
17 of CDC who approved the vaccine is subsequently employed by the manufacturer as a

18 high-level executive to oversee the commercial success of the vaccine she previously

19 approved), it is also worth noting some of the other conflicts of interest that exist within

20 governmental agencies in relation to the facts surrounding Gardasil. Scientists from the
21 National Institute of Health (“NIH”), which is a division of the United States Department

22 of Health and Human Services (“HHS”), discovered a method of producing “virus-like-

23 particles” (“VLPs”) that made creation of the Gardasil vaccine possible.          The NIH
24 scientists’ method of producing VLPs was patented by the Office of Technology Transfer

25 (“OTT”), which is part of the NIH, and the licensing rights were sold to Merck (for

26 manufacture of Gardasil). Not only does the NIH (and, in effect, the HHS) receive

27 royalties from sales of Gardasil, but the scientists whose names appear on the vaccine

28 patents can receive up to $150,000 per year (in perpetuity). Accordingly, the Gardasil

                                        17
                                    COMPLAINT
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 1 patents have earned HHS, NIH and the scientists who invented the technology millions

 2 of dollars in revenue.

 3         67.   Moreover, members of ACIP have been allowed to vote on vaccine
 4 recommendations even if they have financial ties to drug companies developing similar

 5 vaccines. According to a 2000 U.S. House of Representatives investigation report, the

 6 majority of the CDC’s eight ACIP committee members had conflicts of interest. The

 7 Chairman of ACIP served on Merck’s Immunization Advisory Board and a number of

 8 the other ACIP members had received grants, salaries, or other forms of remuneration

 9 from Merck
10               C. Merck Engaged in Disease Mongering and False Advertising to
                    Enhance Gardasil Sales
11
           68.   Both prior to and after the approval of Gardasil, Merck engaged in
12
     unscrupulous marketing tactics designed to overemphasize both the risks associated with
13
     HPV and the purported efficacy of Gardasil to scare the public into agreeing to mass
14
     vaccinations of the Gardasil vaccine.
15
           69.   Prior to Merck’s aggressive marketing campaign, there was no HPV public
16
     health emergency in high-resource countries, such as the United States.
17
           70.   Most women had never heard of HPV. The NCI’s 2005 Health Information
18
     National Trends Survey (“HINTS”) found that, among U.S. women 18 to 75 years old,
19
     only 40 percent had heard of HPV. Among those who had heard of HPV, less than half
20
     knew of an association between HPV and cervical cancer. Furthermore, only four
21
     percent knew that the vast majority of HPV infections resolve without treatment.
22
           71.   The stage was set for Merck to “educate” the public about HPV, cervical
23
     cancer, and Gardasil, all to Merck’s advantage.
24
           72.   Merck preceded its rollout of Gardasil with years of expensive disease
25
     awareness marketing. Merck ran “Tell Someone” commercials, designed to strike fear
26
     in people about HPV and cervical cancer – even ominously warning that you could have
27
     HPV and not know it. The commercials could not mention Gardasil, which had not yet
28
     been approved by FDA, but did include Merck’s logo and name. Critics of Merck’s pre-
                                         18
                                     COMPLAINT
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 1 approval advertising and promotion called it “deceptive and dishonest.” While Merck

 2 claims the promotion was part of public health education, critics complained that this

 3 “education” was designed to sell Gardasil and build the market for the vaccine. See

 4 Angela Zimm and Justin Blum, Merck Promotes Cervical Cancer Shot by Publicizing

 5 Viral Cause, BLOOMBERG NEWS, May 26, 2006.

 6        73.    A year before obtaining licensing for its vaccine, Merck engaged in a major
 7 offensive in “disease branding” to create a market for its vaccine out of thin air. See Beth

 8 Herskovits,     Brand    of    the   Year,    PHARMEXEC.COM,        February    1,    2007.
 9 http://www.pharmexec.com/brand-year-0
10        74.    Merck also engaged in a relentless propaganda campaign aimed at
11 frightening and guilting parents who failed to inoculate their children with Gardasil.

12        75.    In addition to paid advertising, Merck worked with third parties to “seed” an
13 obliging media with terrifying stories about cervical cancer in preparation for Merck’s

14 Gardasil launch.

15        76.    Prior to the FDA’s 2006 approval of Gardasil, the mainstream media – under
16 direction of Merck and its agents – dutifully reported alarming cervical cancer stories,

17 accompanied by the promotion of an auspicious vaccine.

18        77.    Merck intended its campaign to create fear and panic and a public consensus
19 that “good mothers vaccinate” their children with Gardasil.          According to Merck
20 propagandists, the only choice was to “get the vaccine immediately” or “risk cervical or
21 anal cancer.”

22        78.    Merck aggressively and fraudulently concealed the risks of the vaccine in
23 broadcast materials and in propaganda that it disseminated in the United States.

24        79.    Merck sold and falsely promoted Gardasil knowing that, if consumers were
25 fully informed about Gardasil’s risks and dubious benefits, almost no one would have

26 chosen to vaccinate.

27        80.    Merck negligently and fraudulently deprived parents and children of their
28 right to informed consent.

                                        19
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 1         81.   One of Merck’s television campaigns, conducted in 2016, shamelessly used
 2 child actors and actresses, implicitly dying of cancer, looking straight into the camera

 3 and asking their parents whether or not they knew that the HPV vaccine could have

 4 protected them against the HPV virus that caused them to develop their cancers. Each

 5 actor asked the following question: “Did you know? Mom? Dad?” See “Mom, Dad, did

 6 you know?” commercial: https://www.ispot.tv/ad/Ap1V/know-hpv-hpv-vaccination.

 7 Merck spent $41 million over two months on the campaign. The ads said nothing about

 8 potential side effects. Merck also distributed pamphlets via U.S. mail to doctors ahead

 9 of the ad’s release to encourage them to share it with their patients:
10

11

12

13

14

15

16

17

18
           82.   Merck’s fraudulent message was that cervical cancer and anal cancer were
19
     real-life killers of young men and women, notwithstanding the fact that the average age
20
     for development of cervical cancer is 50 years old, average age of development of anal
21
     cancer is 60 years old and that the cancer is virtually nonexistent in men and women
22
     under 20.
23
           83.   Other television marketing campaigns Merck launched falsely proclaimed
24
     that Gardasil was a “cervical cancer vaccine” and that any young girl vaccinated with
25
     Gardasil would become “one less” woman with cervical cancer. The “One Less”
26
     marketing campaign portrayed Gardasil as if there were no question as to the vaccine’s
27
     efficacy in preventing cervical cancer, and it disclosed none of Gardasil’s side effects.
28
           84.   Merck marketed Gardasil with the most aggressive campaign ever mounted
                                         20
                                     COMPLAINT
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 1 to promote a vaccine, spending more on Gardasil advertising than any previous vaccine

 2 advertising campaign.

 3                  D. Merck Used Scare Tactics and Provided Financial Incentives to
 4                     Legislatures to Attempt to make the Gardasil Vaccine Mandatory for
                       All School Children
 5

 6
            85.     An ACIP recommendation of a vaccine, adopted by individual states, opens

 7
     the door to mandates affecting as many as four million children annually.

 8
            86.     With Gardasil costing $360 for the original three-dose series (exclusive of

 9
     the necessary doctor’s visits) and Gardasil 9 now priced at $450 for two doses (again,

10
     not including the cost of doctor’s visits), Merck stood to earn billions of dollars per year,

11
     in the US alone, with little marketing costs.

12
            87.     Prior to Gardasil’s approval in 2006, Merck was already targeting political
     figures to aid in the passage of mandatory vaccination laws.
13
            88.     As early as 2004, a group called Women in Government (“WIG”) started
14
     receiving funding from Merck and other drug manufacturers who had a financial interest
15
     in the vaccine.
16
            89.     With the help of WIG, Merck aggressively lobbied legislators to mandate
17
     Gardasil to all sixth-grade girls. See Michelle Mello et al., Pharmaceutical Companies’
18
     Role in State Vaccination Policymaking: The Case of Human Papillomavirus
19
     Vaccination, 102 AMERICAN J PUBLIC HEALTH 893 (May 2012).
20
            90.     In 2006, Democratic Assembly leader Sally Lieber of California introduced
21
     a bill that would require all girls entering sixth grade to receive the Gardasil vaccination.
22
     Lieber later dropped the bill after it was revealed there was a possible financial conflict
23
     of interest.
24
            91.     Prior to the introduction of the bill, Lieber met with WIG representatives. In
25
     an interview, the President of WIG, Susan Crosby, confirmed that WIG funders have
26
     direct access to state legislators, in part through the organization’s Legislative Business
27
     Roundtable, of which WIG funders are a part. See Judith Siers-Poisson, The Gardasil
28

                                         21
                                     COMPLAINT
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 1 Sell Job, in CENSORED 2009: THE TOP 25 CENSORED STORIES OF 2007-08, 246 (Peter

 2 Philips ed. 2011).

 3         92.   Dr. Diane Harper, a medical doctor and scientist who was hired as a principal
 4 investigator on clinical trials for Gardasil gave an interview for an article on the HPV

 5 vaccines and WIG in 2007. Harper, who had been a major presenter at a WIG meeting

 6 in 2005, stated that “the Merck representative to WIG was strongly supporting the

 7 concept of mandates later in the WIG meetings and providing verbiage on which the

 8 legislators could base their proposals.”

 9         93.   WIG was one of dozens of “pay to play” lobby groups that Merck mobilized
10 to push HPV vaccine mandates.

11         94.   Another group, the National Association of County and City Health Officials
12 (NACCHO), was also pushing HPV vaccine mandates in all 50 states.

13         95.   To that end, Merck made large contributions to political campaigns and
14 legislative organizations. By February 2007, 24 states and the District of Columbia had

15 introduced mandate legislation.

16         96.   Several states passed laws allowing preteen children as young as age 12 to
17 “consent” to vaccination with an HPV vaccine without parental consent or knowledge.

18         97.   One New York state county offered children free headphones and speakers
19 to encourage them to consent to the Gardasil vaccine. See Mary Holland et al., THE HPV

20 VACCINE ON TRIAL: SEEKING JUSTICE FOR A GENERATION BETRAYED 131 (2018).
21         98.   Merck funneled almost $92 million to Maryland’s Department of Health
22 between 2012 and 2018 to promote Gardasil in Maryland schools, in a fraudulent

23 campaign that paid school officials to deliberately deceive children and parents into

24 believing Gardasil was mandatary for school attendance. Josh Mazer, Maryland should

25 be upfront about HPV vaccinations for children, CAPITAL GAZETTE, August 14, 2018, at

26         https://www.capitalgazette.com/opinion/columns/ac-ce-column-mazer-20180814-
27 story.html.

28 ///

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                                      COMPLAINT
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 1                E. Merck Pushed Gardasil Using Trusted Doctors and Third-Party
 2                   Front Groups
 3         99.    In order to mobilize “third-party credibility” to push Gardasil, Merck gave
 4 massive donations to dozens of nonprofit groups to “educate” the public via “education

 5 grants.”      For example, a disclaimer on American College of Obstetricians and
 6 Gynecologists’ Immunization for Women website stated that “[t]his website is supported

 7 by an independent educational grant from Merck and Sanofi Pasteur US.”

 8         100. Merck offered influential doctors (also known as “key opinion leaders”)
 9 $4,500 for every Gardasil lecture they gave.
10         101. Among the allegedly independent organizations Merck recruited to push
11 Gardasil were the Immunization Coalition, the Allegheny County Board of Health, the

12 Eye and Ear Foundation, the Jewish Healthcare Foundation, the American Dental

13 Association, the American College of Obstetricians and Gynecologists, and the

14 American Cancer Society.

15                F. Merck Has Systematically Misrepresented the Efficacy of Gardasil
                     By Advertising that Gardasil Prevents Cervical Cancer When There
16
                     Are No Clinical Studies to Support This False Claim
17         102. Merck faced a daunting problem in convincing regulators, doctors, and the
18 public to accept the Gardasil vaccine.

19         103. Merck recommends the vaccine for children aged 11 to 12 years old, to
20 provide protection against a disease that, in the United States, is not generally diagnosed
21 until a median age of 50. Moreover, in those rare instances of death, the median age is

22 58.

23         104. There are no studies proving that Gardasil prevents cancer.
24         105. Because it can take decades for a persistent HPV infection to proceed to
25 development of cervical or anal cancer, and because cervical and anal cancers are so rare,

26 a true efficacy study would require decades and likely hundreds of thousand – if not

27 millions – of trial participants to demonstrate that eliminating certain HPV infections

28 would actually prevent the development of cervical and anal cancer.

                                          23
                                      COMPLAINT
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 1        106. Merck did not want to invest the time or money necessary to perform testing
 2 that would prove that its vaccine actually worked to prevent cervical and anal cancer.

 3        107. Instead, Merck persuaded regulators to allow it to use “surrogate endpoints”
 4 to support its theory that the HPV vaccines would be effective in preventing cervical and

 5 anal cancer.

 6        108. The clinical trials therefore did not test whether HPV vaccines prevent
 7 cervical, anal or other cancers. Instead, Merck tested the vaccines against development

 8 of certain cervical lesions, which some researchers suspect are precursors to cancer,

 9 although the majority of these lesions – even the most serious – regress on their own.
10 See, e.g., Jin Yingji et al., Use of Autoantibodies Against Tumor-Associated Antigens as

11 Serum Biomarkers for Primary Screening of Cervical Cancer, 8 ONCOTARGET 105425

12 (Dec. 1, 2017); Philip Castle et al., Impact of Improved Classification on the Association

13 of Human Papillomavirus With Cervical Precancer, 171 AMERICAN JOURNAL OF

14 EPIDEMIOLOGY 161 (Dec. 10, 2009); Karoliina Tainio et al., Clinical Course of Untreated

15 Cervical Intraepithelial Neoplasia Grade 2 Under Active Surveillance: Systematic

16 Review and Meta-Analysis, 360 BRIT. MED. J. k499 (Jan. 16, 2018).

17        109. The Department of Health and Human Services (HHS), which oversees the
18 FDA, and which also stood to make millions of dollars on the vaccine from patent

19 royalties, allowed the use of Merck’s proposed surrogate endpoints.

20        110. The surrogate endpoints chosen by Merck to test the efficacy of its HPV
21 vaccine were cervical and anal intraepithelial neoplasia (CIN) grades 2 and 3 and

22 adenocarcinoma in situ.

23        111. Merck used these surrogate endpoints even though it knew that these
24 precursor lesions are common in young women under 25 and rarely progress to cancer.

25        112. At the time FDA approved the vaccine, Merck’s research showed only that
26 Gardasil prevented certain lesions (the vast majority of which would have resolved on

27 their own without intervention) and genital warts – not cancer itself, and only for a few

28 years at that.

                                        24
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 1        113. The use of these surrogate endpoints allowed Merck to shorten the clinical
 2 trials to a few years and gain regulatory approvals of the vaccines without any evidence

 3 the vaccines would prevent cancer in the long run.

 4        114. Merck’s advertisements assert that the HPV vaccine prevents cervical
 5 cancer. For example, in a presentation to medical doctors, Merck proclaimed: “Every

 6 year that increases in coverage [of the vaccine] are delayed, another 4,400 women will

 7 go on to develop cervical cancer.” The presentation goes on to tell doctors that women

 8 who do not get the vaccine will go on to develop cancer.

 9        115. Merck’s foundational theory that HPV alone causes cervical and anal cancer,
10 while dogmatically asserted, is not proven.

11        116. Research indicates that cervical and anal cancer is a multi-factor disease with
12 persistent HPV infections seeming to play a role, along with many other environmental

13 and genetic factors, including smoking cigarettes or exposure to other toxic smoke

14 sources, long-term use of oral contraceptives, nutritional deficiencies, multiple births

15 (especially beginning at an early age), obesity, inflammation, and other factors. Not all

16 cervical and anal cancer is associated with HPV types in the vaccines and not all cervical

17 and anal cancer is associated with HPV at all.

18        117. Despite the lack of proof, Merck claimed that Gardasil could eliminate
19 cervical and anal cancer and other HPV-associated cancers.

20        118. However, Merck knows that the Gardasil vaccines cannot eliminate all
21 cervical and anal cancer or any other cancer that may be associated with HPV.

22        119. Even assuming the Gardasil vaccine is effective in preventing infection from
23 the four to    nine vaccine-targeted HPV types, the results may be short term, not
24 guaranteed, and ignore the 200 or more other types of HPV not targeted by the vaccine,

25 and some of which already have been associated with cancer.

26        120. Even assuming these vaccine-targets are the types solely responsible for 100
27 percent of cervical and anal cancer – which they are not – the vaccines have not been

28 followed long enough to prove that Gardasil protects girls and boys from cancer that

                                        25
                                    COMPLAINT
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 1 would strike them 40 years later.

 2        121. Under Merck’s hypothetical theory, the reduction of pre-cancerous lesions
 3 should translate to fewer cases of cervical and anal cancer in 30 to 40 years.

 4        122. Cervical and anal cancer takes decades to develop and there are no studies
 5 that prove the Gardasil vaccines prevent cancer.

 6        123. In January 2020, a study from the UK raised doubts about the validity of the
 7 clinical trials in determining the vaccine’s potential to prevent cervical cancer. The

 8 analysis, carried out by researchers at Newcastle University and Queen Mary University

 9 of London, revealed many methodological problems in the design of the Phase 2 and 3
10 trials, leading to uncertainty regarding understanding the effectiveness of HPV

11 vaccination. See Claire Rees et al., Will HPV Vaccine Prevent Cancer? J. OF THE ROYAL

12 SOC. OF MED. 1-15 (2020).

13        124. As Dr. Tom Jefferson of the Centre for Evidence-Based Medicine pointed
14 out: “The reason for choosing vaccination against HPV was to prevent cancer but there’s

15 no clinical evidence to prove it will do that.”

16        125. Gardasil has never been proven to prevent cervical or any other kind of
17 cancer.

18        126. Yet Merck has marketed the Gardasil vaccines as if there is no question
19 regarding their efficacy at preventing cervical and anal cancer. In reality, they are at best

20 protective against only four to nine of the over 200 strains of the human papillomavirus.
21              G. The Gardasil Vaccines Contain Numerous Hazardous Ingredients,
                   Including At Least One Ingredient Merck Failed to Disclose to
22                 Regulators and the Public
23                       i.   Gardasil Contains A Toxic Aluminum Adjuvant
24        127. To stimulate an enhanced immune response that allegedly might possibly last
25 for 50 years, Merck added to the Gardasil vaccine a particularly toxic aluminum-

26 containing adjuvant – Amorphous Aluminum Hydroxyphosphate Sulfate (“AAHS”).

27        128. Aluminum is a potent neurotoxin that can result in very serious harm.
28        129. The original Gardasil vaccine contains 225 micrograms of AAHS and

                                        26
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 1 Gardasil 9 contains 500 micrograms of AAHS.

 2         130. Federal law requires that manufacturers cannot add adjuvants to vaccines
 3 that have not been proven safe. 21 C.F.R. § 610.15(a).

 4         131. AAHS has never been proven safe. AAHS is a recent proprietary blend of
 5 aluminum and other unknown ingredients developed by Merck and used in Merck

 6 vaccines, including Gardasil.

 7 Prior vaccines have used a different aluminum formulation.

 8         132. Peer-reviewed studies show that aluminum binds to non-vaccine proteins,
 9 including the host’s own proteins, or to latent viruses, triggering autoimmune and other
10 serious conditions. See Darja Kanduc, Peptide Cross-reactivity: The Original Sin of

11 Vaccines, 4 FRONTIERS IN BIOSCIENCE 1393 (June 2012).

12         133. Aluminum, including AAHS, has been linked to scores of systemic side
13 effects including, but not limited to: impairing cognitive and motor function; inducing

14 autoimmune interactions; increasing blood brain barrier permeability; inducing

15 macrophagic myofascitis in muscle; blocking neuronal signaling; interrupting cell-to-cell

16 communications; corrupting neuronal-glial interactions; interfering with synaptic

17 transmissions; altering enzyme function; impairing protein function; fostering

18 development of abnormal tau proteins; and altering DNA.

19                       ii.   Merck Lied About a Secret DNA Adjuvant Contained in
                               The Gardasil Vaccines
20
           134. Merck has repeatedly concealed or incorrectly identified Gardasil
21
     ingredients to the FDA and the public.
22
           135. Merck lied both to the FDA and the public about including a secret and
23
     potentially hazardous ingredient, HPV LI-DNA fragments, in Gardasil. These DNA
24
     fragments could act as a Toll-Like Receptor 9 (“TLR9”) agonist – further adjuvanting
25
     the vaccine and making it more potent. Merck used this hidden adjuvant to prolong the
26
     immunological effects of the vaccine, but illegally omitted it from its list of substances
27
     and ingredients in the vaccine.
28
           136. Dr. Sin Hang Lee has opined that, without adding the TLR9 agonist, Gardasil
                                         27
                                     COMPLAINT
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 1 would not be immunogenic. The DNA fragments bound to the AAHS nanoparticles act

 2 as the TLR9 agonist in both Gardasil and Gardasil 9 vaccines, creating the strongest

 3 immune-boosting adjuvant in use in any vaccine.

 4        137. On multiple occasions, Merck falsely represented to the FDA and others,
 5 including regulators in other countries, that the Gardasil vaccine did not contain viral

 6 DNA, ignoring the DNA fragments.

 7        138. This DNA adjuvant is not approved by the FDA and Merck does not list it
 8 among the ingredients as federal law requires. See 21 C.F.R. § 610.61(o) (requiring that

 9 adjuvants be listed on biologics’ labeling). Even if not an adjuvant, the DNA fragments
10 should have been listed because they represent a safety issue. 21 C.F.R. §610.61(n).

11        139. It is unlawful for vaccine manufacturers to use an experimental and
12 undisclosed adjuvant.

13        140. When independent scientists found DNA fragments in every Gardasil vial
14 tested, from all over the world, Merck at first denied, and then finally admitted, the

15 vaccine does indeed include HPV L1-DNA fragments.

16        141. Tellingly, Merck entered into a business arrangement with Idera
17 Pharmaceuticals in 2006 to explore DNA adjuvants to further develop and commercialize

18 Idera’s toll-like receptors in Merck’s vaccine program.

19        142. To this day, the Gardasil package inserts do not disclose that DNA fragments
20 remain in the vaccine.
21        143. Dr. Lee also found HPV DNA fragments from the Gardasil vaccine in post-
22 mortem spleen and blood samples taken from a young girl who died following

23 administration of the vaccine. See Sin Hang Lee, Detection of Human Papillomavirus

24 L1 Gene DNA Fragments in Postmortem Blood and Spleen After Gardasil Vaccination—

25 A Case Report, 3 ADVANCES IN BIOSCIENCE AND BIOTECHNOLOGY 1214 (December

26 2018).

27        144. Those fragments appear to have played a role in the teenager’s death.
28        145. The scientific literature suggests there are grave and little-understood risks

                                       28
                                   COMPLAINT
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 1 attendant to injecting DNA into the human body.

 2                      iii.   Gardasil Contains Borax
 3        146. Gardasil contains sodium borate (borax). Borax is a toxic chemical and may
 4 have long-term toxic effects.

 5        147. Merck has performed no studies to determine the impact of injecting borax
 6 into millions of young children or adults.

 7        148. Sodium borate is known to have adverse effects on male reproductive
 8 systems in rats, mice, and dogs.       Furthermore, borax causes increased fetal deaths,
 9 decreased fetal weight, and increased fetal malformations in rats, mice, and rabbits.
10        149. The European Chemical Agency requires a “DANGER!” warning on borax
11 and states that borax “may damage fertility or the unborn child.”

12        150. The Material Safety Data Sheet (“MSDS”) for sodium borate states that
13 sodium borate “[m]ay cause adverse reproductive effects” in humans.

14        151. The FDA has banned borax as a food additive in the United States, and yet
15 allows Merck to use it in the Gardasil vaccine without any proof of safety.

16                      iv.    Gardasil Contains Polysorbate 80
17        152. Gardasil contains Polysorbate 80.
18        153. Polysorbate 80 crosses the blood-brain barrier.
19        154. Polysorbate 80 is used in drugs to open up the blood brain barrier in order to
20 allow the active ingredients in a drug to reach the brain and to elicit the intended response.
21 It acts as an emulsifier for molecules like AAHS and aluminum, enabling those

22 molecules to pass through resistive cell membranes.

23        155. Polysorbate 80 is associated with many health injuries, including,
24 anaphylaxis, infertility and cardiac arrest.

25        156. Polysorbate 80 was implicated as a cause, possibly with other components,
26 of anaphylaxis in Gardasil recipients in a study in Australia. See Julia Brotherton et al.,

27 Anaphylaxis Following Quadrivalent Human Papillomavirus Vaccination, 179

28 CANADIAN MEDICAL ASSOC. J. 525 (September 9, 2008). Merck never tested Polysorbate

                                        29
                                    COMPLAINT
       Case 3:22-cv-00423-RJC-DCK Document 1 Filed 03/21/22 Page 29 of 91
 1 80 for safety in vaccines.

 2                        v.   Gardasil Contains Genetically Modified Yeast
 3           157. Gardasil contains genetically modified yeast.
 4           158. Studies have linked yeast with autoimmune conditions. See, e.g., Maurizo
 5 Rinaldi et al., Anti-Saccharomyces Cerevisiae Autoantibodies in Autoimmune Diseases:

 6 from Bread Baking to Autoimmunity, 45 CLINICAL REVIEWS IN ALLERGY AND

 7 IMMUNOLOGY 152 (October 2013).

 8           159. Study participants with yeast allergies were excluded from Gardasil clinical
 9 trials.
10           160. Merck has performed no studies to determine the safety of injecting yeast
11 into millions of children and young adults.

12                H. As it Did in Vioxx, In Designing and Conducting Its Clinical Trials
                     for Gardasil, Merck Concealed Risks to Falsely Enhance the Safety
13
                     Profile of Gardasil
14
             161. Merck engaged in wholesale fraud during its safety and efficacy clinical
15
     studies.
16
             162. In order to obtain its Gardasil license, Merck designed its studies
17
     purposefully to conceal adverse events and exaggerate efficacy.
18
             163. Merck sold Gardasil to the public falsely claiming that pre-licensing safety
19
     tests proved it to be effective and safe.
20
             164. In fact, Merck’s own pre-licensing studies showed Gardasil to be of doubtful
21
     efficacy and dangerous.
22
             165. The dishonesty in the clinical tests has led many physicians to recommend
23
     the vaccination, under false assumptions.
24
             166. The clinical trials clearly demonstrated that the risks of both Gardasil and
25
     Gardasil 9 vastly outweigh any proven or theoretical benefits.
26
             167. Merck deliberately designed the Gardasil protocols to conceal evidence of
27
     chronic conditions such as autoimmune diseases, menstrual cycle problems and death
28
     associated with the vaccine during the clinical studies.
                                         30
                                     COMPLAINT
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 1        168. Merck employed deceptive means to cover up injuries that study group
 2 participants suffered.

 3        169. In early 2018, Lars Jørgensen, M.D., Ph.D. and Professor Peter Gøtzsche,
 4 M.D. (then with the Nordic Cochrane Centre), and Professor Tom Jefferson, M.D., of the

 5 Centre for Evidence-Based Medicine, published a study indexing all known industry and

 6 non-industry HPV vaccine clinical trials and were disturbed to find that regulators such

 7 as the FDA and EMA (European Medicines Agency) assessed as little as half of all

 8 available clinical trial results when approving the HPV vaccines. Lars Jørgensen et al.,

 9 Index of the Human Papillomavirus (HPV) Vaccine Industry Clinical Study
10 Programmers and Non-Industry Funded Studies: a Necessary Basis to Address

11 Reporting Bias in a Systematic Review, 7 SYSTEMATIC REVIEWS (January 18, 2018).

12        170. Per the indexing study discussed above, Merck appears to have kept a
13 number of its clinical trial results secret. Moreover, it appears that Merck reported only

14 those findings that support its own agenda.

15        171. Three separate reviews of the Gardasil vaccine by the Cochrane
16 Collaboration found that the trial data were “largely inadequate.”

17        172. According to Dr. Tom Jefferson, “HPV [vaccine] harms have not been
18 properly studied.”

19        173. In 2019, numerous medical professionals published an article in the British
20 Medical Journal outlining the flaws and incomplete nature of the publications discussing
21 Merck’s Gardasil clinical trials. The authors issued a “call to action” for independent

22 researchers to reanalyze or “restore the reporting of multiple trials in Merck’s clinical

23 development program for quadrivalent human papillomavirus (HPV) vaccine (Gardasil)

24 vaccine.” Peter Doshi et al., Call to Action: RIAT Restoration of Previously Unpublished

25 Methodology in Gardasil Vaccine Trials, 346 BRIT. MED. J. 2865 (2019). The authors

26 explained that the highly influential publications of these studies, which formed the basis

27 of Gardasil’s FDA approval, “incompletely reported important methodological details

28 and inaccurately describe the formulation that the control arm received, necessitating

                                        31
                                    COMPLAINT
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 1 correction of the record.” Id. The authors explained that, while the publications claimed

 2 the clinical trials of Gardasil were “placebo-controlled,” “participants in the control arm

 3 of these trials did not receive an inert substance, such as saline injection. Instead, they

 4 received an injection containing

 5 [AAHS], a proprietary adjuvant system that is used in Gardasil to boost immune

 6 response.” Id.

 7         174. The researchers further opined that “the choice of AAHS-containing controls
 8 complicates the interpretation of efficacy and safety results in trials … We consider the

 9 omission in journal articles, of any rationale for the selection of AAHS-containing
10 control, to be a form of incomplete reporting (of important methodological details) and

11 believe the rationale must be reported. We also consider that use of the term ‘placebo’

12 to describe an active comparator like AAHS inaccurately describes the formulation that

13 the control arm received, and constitutes an important error that requires correction.” Id.

14         175. The authors pointed out that Merck’s conduct “raises ethical questions about
15 trial conduct as well” and that they and other scientists would need to review the Gardasil

16 clinical trial raw data, in order to be able to analyze the safety and adverse event profile

17 of Gardasil meaningfully and independently. Id.

18                       i.   Small Clinical Trials
19         176. Although nine to 12-year-olds are the primary target population for HPV
20 vaccines, Merck used only a small percentage of this age group in the clinical trials.
21 Protocol 018 was the only protocol comparing children receiving a vaccine to those who

22 did not. In that study, Merck looked at results of fewer than 1,000 children 12 and

23 younger for a vaccine targeting billions of boys and girls in that age group over time. In

24 Protocol 018, 364 girls and 332 boys (696 children) were in the vaccine cohort, while

25 199 girls and 173 boys (372 children) received a non-aluminum control.

26         177. The small size of this trial means that it was incapable of ascertaining all
27 injuries that could occur as a result of the vaccine.

28 ///

                                          32
                                      COMPLAINT
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 1                      ii.   Merck Used a Highly Toxic “Placebo” to Mask Gardasil
 2                            Injuries
 3        178. Instead of comparing health outcomes among volunteers in the Gardasil
 4 study group to health outcomes among volunteers receiving an inert placebo, Merck

 5 purposefully used a highly toxic placebo as a control in order to conceal Gardasil’s risks

 6 in all trials using comparators with the exception of Protocol 018, where only 372

 7 children received a non-saline placebo containing everything in the vaccine except the

 8 adjuvant and antigen.

 9        179. Comparing a new product against an inactive placebo provides an accurate
10 picture of the product’s effects, both good and bad. The World Health Organization

11 (“WHO”) recognizes that using a toxic comparator as a control (as Merck did here)

12 creates a “methodological disadvantage.”       WHO states that “it may be difficult or
13 impossible to assess the safety” of a vaccine when there is no true placebo.

14        180. Merck deliberately used toxic “placebos” in the control group, in order to
15 mask harms caused by Gardasil to the study group.

16        181. Instead of testing Gardasil against a control with a true inert placebo, Merck
17 tested its vaccine in almost all clinical trials against its highly neurotoxic aluminum

18 adjuvant, AAHS.

19        182. Merck gave neurotoxic aluminum injections to approximately 10,000 girls
20 and young women participating in Gardasil trials, to conceal the dangers of Gardasil
21 vaccines.

22        183. Merck never safety tested AAHS before injecting it into thousands of girls
23 and young women in the control groups and the girls and young women were not told

24 they could receive an aluminum “placebo.” Merck told the girls that they would receive

25 either the vaccine or a safe inert placebo.

26        184. Merck violated rules and procedures governing clinical trials when it lied to
27 the clinical study volunteers, telling them that the placebo was an inert saline solution –

28 when in reality the placebo contained the highly neurotoxic aluminum adjuvant AAHS.

                                        33
                                    COMPLAINT
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 1        185. AAHS provoked terrible injuries and deaths in a number of the study
 2 participants when Merck illegally dosed the control group volunteers with AAHS.

 3        186. Since the injuries in the Gardasil group were replicated in the AAHS control
 4 group, this scheme allowed Merck to falsely conclude that Gardasil’s safety profile was

 5 comparable to the “placebo.”

 6        187. The scheme worked and enabled Merck to secure FDA licensing.
 7        188. Merck lied to the FDA when it told public health officials that it had used a
 8 saline placebo in Protocol 018.

 9        189. There was no legitimate public health rationale for Merck’s failure to use a
10 true saline placebo control in the original Gardasil clinical trials. At that time, no other

11 vaccine was yet licensed for the four HPV strains Gardasil was intended to prevent.

12        190. A small handful of girls in a subsequent Gardasil 9 trial group, may have
13 received the saline placebo, but only after they had already received three doses of

14 Gardasil for the Gardasil 9 trial.

15                      iii.   Merck Used Exclusionary Criteria to Further Conceal
                               Gardasil Risks
16        191. Merck also manipulated the Gardasil studies by excluding nearly half of the
17 original recruits to avoid revealing the effects of the vaccine on vulnerable populations.

18        192. After recruiting thousands of volunteers to its study, Merck excluded all
19 women who had admitted to vulnerabilities that might be aggravated by the vaccine, such

20 as abnormal Pap tests or a history of immunological or nervous system disorders.
21        193. Women could also be excluded for “[a]ny condition which in the opinion of
22 the investigator might interfere with the evaluation of the study objectives.”

23        194. Merck’s protocol had exclusion criteria for subjects with allergies to vaccine
24 ingredients

25 including aluminum (AAHS), yeast, and the select enzymes.               For most of these
26 ingredients, there are limited resources for the public to test for such allergies in advance

27 of being vaccinated.

28        195. Merck excluded anyone with serious medical conditions from the Gardasil
                                        34
                                    COMPLAINT
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 1 clinical trials, even though CDC recommends the Gardasil vaccine for everyone,

 2 regardless of whether or not they suffer from a serious medical condition.

 3         196. Merck sought to exclude from the study all subjects who might be part of
 4 any subgroup that would suffer injuries or adverse reactions to any of Gardasil’s

 5 ingredients.

 6         197. The study exclusion criteria are not listed as warnings on the package inserts
 7 and the package insert for Gardasil only mentions an allergy to yeast or to a previous

 8 dose of Gardasil as a contraindication, rather than an allergy to any other component.

 9 Nonetheless, for most of the ingredients, it is almost impossible to determine if such an
10 allergy exists prior to being vaccinated and Merck does not recommend allergy testing

11 before administering the vaccine.

12         198. Instead of testing the vaccine on a population representative of the cross-
13 section of humans who would receive the approved vaccine, Merck selected robust,

14 super-healthy trial participants, who did not reflect the general population, in order to

15 mask injurious effects on all the vulnerable subgroups that now receive the vaccine.

16 Therefore, the population tested in the clinical

17 trials was a much less vulnerable population than the population now receiving Gardasil.

18                       iv.    Merck Deceived Regulators and The Public by Classifying
                                Many Serious Adverse Events, Which Afflicted Nearly Half
19                              of All Study Participants, As Coincidences
20
           199. Because Merck did not use a true placebo, determining which injuries were
21
     attributable to the vaccine and which were attributable to unfortunate coincidence was
22
     entirely within the discretion of Merck’s paid researchers.
23
           200. In order to cover up and conceal injuries from its experimental vaccine,
24
     Merck, during the Gardasil trials, employed a metric, “new medical conditions,” that
25
     allowed the company to dismiss and fraudulently conceal infections, reproductive
26
     disorders, neurological symptoms, and autoimmune conditions, which affected a
27
     troubling 50 percent of all clinical trial participants.
28
           201. Merck’s researchers systematically dismissed reports of serious adverse
                                         35
                                     COMPLAINT
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 1 events from 49 percent of trial participants in order to mask the dangers of the vaccine.

 2        202. Instead of reporting these injuries as “adverse events,” Merck dismissed
 3 practically all of these illnesses and injuries as unrelated to the vaccine by classifying

 4 them under its trashcan metric “new medical conditions,” a scheme Merck could get

 5 away with only because it used a “spiked” (poisonous) placebo, that was yielding injuries

 6 at comparable rates.

 7        203. Merck’s use of a toxic placebo allowed the company to conceal from the
 8 public an epidemic of autoimmune diseases and other injuries and deaths associated with

 9 its multi-billion-dollar HPV vaccine.
10        204. Because Merck conducted its studies without a true placebo, Merck
11 investigators had wide discretion to decide what constituted an adverse event and used

12 that power to dismiss a wave of grave vaccine injuries, injuries that sickened half of the

13 trial volunteers, as coincidental.

14        205. Almost half (49 percent) of all trial participants, regardless of whether they
15 received the vaccine or Merck’s toxic placebo, reported adverse events, including serious

16 illnesses such as blood, lymphatic, cardiac, gastrointestinal, immune, musculoskeletal,

17 reproductive, neurological and psychological conditions, chronic illnesses such as

18 thyroiditis, arthritis and multiple sclerosis, and conditions requiring surgeries. See, e.g.,

19 Nancy B. Miller, Clinical Review of Biologics License Application for Human

20 Papillomavirus 6, 11, 16, 18 L1 Virus Like Particle Vaccine (S. cerevisiae)
21 (STN 125126 GARDASIL), manufactured by Merck, Inc. at 393-94 (Table 302) (June 8,

22 2006).

23                      v.    Merck Manipulated the Study Protocols to Block
                              Participants and Researchers from Reporting Injuries and
24                            Designed the Studies to Mask Any Long-Term Adverse
25                            Events
26        206. Merck adopted multiple strategies to discourage test subjects from reporting
27 injuries.

28        207. Merck provided Vaccination Report Cards to a limited number of trial

                                        36
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 1 participants. For example, in Protocol 015, only approximately 10 percent of participants

 2 – all in the United States, despite trial sites worldwide – received Vaccination Report

 3 Cards to memorialize reactions in the first few days following injections.

 4         208. Furthermore, the report cards only included categories of “Approved
 5 Injuries” mainly jab site reactions (burning, itching, redness, bruising) leaving no room

 6 to report more serious unexplained injuries such as autoimmune diseases. In fact, they

 7 were designed for the purposes of reporting non-serious reactions only.

 8         209. Furthermore, Merck instructed those participants to record information for
 9 only 14 days following the injection.
10         210. In this way, Merck foreclosed reporting injuries with longer incubation
11 periods or delayed diagnostic horizons.

12         211. Abbreviated reporting periods were part of Merck’s deliberate scheme to
13 conceal chronic conditions such as autoimmune or menstrual cycle problems, and

14 premature ovarian failure, all of which have been widely associated with the vaccine, but

15 would be unlikely to show up in the first 14 days following injection.

16         212. Merck researchers did not systematically collect adverse event data, from the
17 trials, which were spread out over hundreds of test sites all over the world.

18         213. To conceal the dangerous side effects of its vaccine, Merck purposely did
19 not follow up with girls who experienced serious adverse events during the Gardasil

20 clinical trials.
21         214. Merck failed to provide the trial subjects a standardized questionnaire
22 checklist of symptoms, to document a comparison of pre- and post-inoculation

23 symptoms.

24         215. To discourage its clinicians from reporting adverse events, Merck made the
25 paperwork reporting requirements for supervising clinicians, onerous and time-

26 consuming, and refused to pay investigators additional compensation for filling out the

27 paperwork.

28         216. Thus, Merck disincentivized researchers from reviewing participants’

                                        37
                                    COMPLAINT
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 1 medical records even when the participant developed a “serious medical condition that

 2 meets the criteria for serious adverse experiences” as described in the protocol.

 3        217. Merck granted extraordinary discretion to its researchers to determine what
 4 constituted a reportable adverse event, while incentivizing them to report nothing and to

 5 dismiss all injuries as unrelated to the vaccine.

 6        218. Merck used subpar, subjective data collection methods, relying on
 7 participants’ recollections and the biased viewpoints of its trial investigators.

 8        219. Merck downplayed the incidence of serious injuries and used statistical
 9 gimmickry to under-report entries.
10        220. During its Gardasil clinical trials, Merck failed to adequately capture and
11 properly code adverse events and symptoms, including but not limited to adverse events

12 and symptoms that were indicative of autoimmune or neurological injuries, including but

13 not limited to POTS and CRPS, so as to prevent the medical community, regulators and

14 patients from learning about these adverse events and to avoid the responsibility of

15 having to issue appropriate warnings concerning these adverse events.

16                     vi.    Merck Deceived Regulators and the Public About Its
                              Pivotal Gardasil Clinical Trial (Protocol 018)
17        221. Merck tested Gardasil and Gardasil 9 in some 50 clinical trials, each one
18 called a “Protocol.” However, results for many of these studies are not available to the

19 public or even to the regulators licensing Gardasil. See Lars Jørgensen, et al., Index of

20 the Human Papillomavirus (HPV) Vaccine Industry Clinical Study Programmers and
21 Non-Industry Funded Studies: a Necessary Basis to Address Reporting Bias in a

22 Systematic Review, 7 SYSTEMATIC REVIEWS 8 (January 18, 2018).

23        222. Gardasil’s most important clinical trial was Protocol 018.              The FDA
24 considered Protocol 018 the pivotal trial upon which Gardasil licensing approvals hinged,

25 because FDA believed 1) it was the only trial where Merck used a “true saline placebo,”

26 and 2) it was the only trial with a comparator group that included girls aged 11 to 12 –

27 the target age for the Gardasil vaccine. See Transcript of FDA Center For Biologics

28 Evaluation And Research VRBPAC Meeting, May 18, 2006, at 93 (Dr. Nancy Miller).

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                                    COMPLAINT
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 1        223. Merck lied to regulators, to the public and to subjects in its clinical trials by
 2 claiming that the Protocol 018 “placebo” group received an actual saline or inert placebo.

 3        224. When the FDA approved Gardasil, it described the Protocol 018 control as a
 4 “true saline placebo.”

 5        225. The FDA declared that the Protocol 018 trial was “of particular interest”
 6 because Merck used a true saline placebo instead of the adjuvant as a control.

 7        226. Merck told regulators that it gave a “saline placebo” to only one small group
 8 of approximately 600 nine to 15-year-old children.

 9        227. In fact, Merck did not give even this modest control group a true saline
10 placebo, but rather, the group members were given a shot containing “the carrier

11 solution” – a witch’s brew of toxic substances including polysorbate 80, sodium borate

12 (borax), genetically modified yeast, L-histidine, and possibly a fragmented DNA

13 adjuvant.

14        228. The only components of Gardasil the control group did not receive were the
15 HPV antigens and the aluminum adjuvant.

16        229. Despite the witches’ brew of toxic chemicals in the carrier solution, those
17 children fared

18 much better than any other study or control group participants, all of whom received the

19 AAHS aluminum adjuvant.

20        230. Only 29 percent of the vaccinated children and 31 percent of control
21 recipients in Protocol 018 reported new illnesses from Day 1 through Month 12,

22 compared to an alarming 49.6 percent of those vaccinated and 49 percent of AAHS

23 controls in the “pooled group” (composed of some 10,000 young women and with the

24 other participants combined) from Day 1 only through Month 7 (not 12). Because the

25 pooled group also included Protocol 018, even those numbers may not be accurate with

26 respect to those who received either a vaccine with a full dose of AAHS or those who

27 received an AAHS control.

28        231. Few of the participants in the Protocol 018 control group got systemic

                                        39
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 1 autoimmune diseases, compared to 2.3 percent (1 in every 43) in the pooled group. In a

 2 follow-up clinical review in 2008, the FDA identified three girls in the carrier-solution

 3 group with autoimmune disease. Based on the number of girls in the placebo group as

 4 stated in the original 2006 clinical review, fewer than 1 percent of girls in the carrier

 5 solution group reported autoimmune disease.

 6        232. In order to further deceive the public and regulators, upon information and
 7 belief, Merck cut the dose of aluminum adjuvant in half when it administered the vaccine

 8 to the nine to fifteen-year-old children in its Protocol 018 study group.

 9        233. As a result, this group showed significantly lower “new medical conditions”
10 compared to other protocols.

11        234. Upon information and belief, Merck pretended that the vaccinated children
12 in the Protocol 018 study group received the full dose adjuvant by obfuscating the change

13 in formulation in the description.

14        235. Upon information and belief, Merck had cut the adjuvant in half, knowing
15 that this would artificially and fraudulently lower the number of adverse events and create

16 the illusion that the vaccine was safe.

17        236. Upon information and belief, Merck lied about this fact to the FDA.
18        237. The data from that study therefore do not support the safety of the Gardasil
19 formulation since Merck was not testing Gardasil but a far less toxic formulation.

20        238. Upon information and belief, Merck was testing a product with only half the
21 dose of Gardasil’s most toxic component.

22        239. Upon information and belief, this is blatant scientific fraud, which continues
23 to this day because this is the study upon which current vaccine safety and long-term

24 efficacy assurances are based.

25        240. As set forth above, upon information and belief, Merck’s deception served
26 its purpose: Only 29 percent of the vaccinated children in Protocol 018 reported new

27 illness, compared to an alarming 49.6 percent in the pooled group to receive the full dose

28 adjuvant in the vaccine.

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 1

 2              I. Contrary to Merck’s Representations, Gardasil May Actually Cause
                   and Increase the Risk of Cervical and Other Cancers
 3        241. Gardasil’s label states, “Gardasil has not been evaluated for potential to
 4 cause carcinogenicity or genotoxicity.” The Gardasil 9 label states: “GARDASIL9 has

 5 not been evaluated for the potential to cause carcinogenicity, genotoxicity or impairment

 6 of male fertility.

 7        242. Peer-reviewed studies, including CDC’s own studies, have suggested that
 8 the suppression of the HPV strains targeted by the Gardasil vaccine may actually open

 9 the ecological niche for replacement by more virulent strains. See Fangjian Guo et al.,
10 Comparison of HPV prevalence between HPV-vaccinated and non-vaccinated young

11 adult women (20–26 years), 11 HUMAN VACCINES & IMMUNOTHERAPEUTICS 2337

12 (October 2015); Sonja Fischer et al., Shift in prevalence of HPV types in cervical cytology

13 specimens in the era of HPV vaccinations, 12 ONCOLOGY LETTERS 601 (2016); J. Lyons-

14 Weiler, Biased Cochrane Report Ignores Flaws in HPV Vaccine Studies, and Studies of

15 HPV Type Replacement, (May 18, 2018). In other words, Gardasil may increase the

16 chances of getting cancer.

17        243. In short, the Gardasil vaccines, which Merck markets as anti-cancer
18 products, may themselves cause cancer or mutagenetic changes that can lead to cancer.

19        244. Merck concealed from the public data from its clinical trials indicating that
20 the vaccines enhance the risk of cervical cancers in many women.
21        245. Merck’s study showed that women exposed to HPV before being vaccinated
22 were 44.6 percent more likely to develop cancerous lesions compared to unvaccinated

23 women, even within a few years of receiving the vaccine.

24        246. In other words, Merck’s studies suggest that its HPV vaccines may cause
25 cancer in women who have previously been exposed to HPV, particularly if they also

26 have a current infection.

27        247. In some studies, more than 30 percent of girls show evidence of exposure to
28 HPV before age ten, from casual exposures, unwashed hands or in the birth canal. Flora

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                                    COMPLAINT
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 1 Bacopoulou et al., Genital HPV in Children and Adolescents: Does Sexual Activity Make

 2 a Difference?, 29 JOURNAL OF PEDIATRIC & ADOLESCENT GYNECOLOGY 228 (June 2016).

 3        248. Even in light of the data demonstrating that Gardasil can increase the risk of
 4 cancer in girls who previously have been exposed to HPV, in order to increase profits,

 5 Merck’s Gardasil labels and promotional material do not inform patients and medical

 6 doctors of this important risk factor.

 7        249. Some clinical trial participants have developed cancer, including cervical
 8 cancer.

 9        250. Numerous women have reported a sudden appearance of exceptionally
10 aggressive cervical cancers following vaccination.

11        251. Cervical cancer rates are climbing rapidly in all the countries where Gardasil
12 has a high uptake.

13        252. An Alabama study shows that the counties with the highest Gardasil uptakes
14 also had the highest cervical cancer rates.

15        253. After the introduction of HPV Vaccine in Britain, cervical cancer rates
16 among young women aged 25 to 29 has risen 54 percent.

17        254. In Australia, government data reveals there has been a sharp increase in
18 cervical cancer rates in young women following the implementation of the Gardasil

19 vaccine. The most recent data reveal that, 13 years after Gardasil was released and

20 pushed upon teenagers and young adults, there has been a 16 percent increase in 25 to 29
21 year-olds and a 30 percent increase in 30 to 34 year-old girls contracting cervical cancer,

22 corroborating the clinical trial data that Gardasil may increase the risk of cervical cancer,

23 particularly in patients who had previous HPV infections.            Meanwhile, rates are
24 decreasing for older women (who have not been vaccinated).

25        255. In addition to the belief that Gardasil may create and open an ecological
26 niche for replacement by more virulent strains of HPV, resulting in the increase of

27 cervical cancers as outlined above, in light of Merck’s false advertising that Gardasil

28 prevents cervical cancer, young women who have received Gardasil are foregoing

                                        42
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 1 regular screening and Pap tests in the mistaken belief that HPV vaccines have eliminated

 2 all their risks.

 3         256. Cervical screening is proven to reduce the cases of cervical cancer, and girls
 4 who have taken the vaccine are less likely to undergo cervical screenings.

 5         257. Data show that girls who received HPV vaccines before turning 21 are far
 6 less likely to get cervical cancer screening than those who receive the vaccines after

 7 turning 21.

 8         258. The cervical screening is more cost effective than vaccination alone or
 9 vaccination with screening.
10         259. Therefore, Pap tests, which detect cervical tissue abnormalities, and HPV
11 DNA testing are the most effective frontline public health response to cervical health.

12               J. Merck has Concealed the Fact that Gardasil Induces and Increases
                    the Risk of Autoimmune Diseases, and Other Injuries, Including But
                    Not Limited to, Postural Orthostatic Tachycardia Syndrome,
13                  Chronic Fatigue Syndrome, Neuropathy, Fibromyalgia and
                    Dysautonomia
14
           260. Gardasil induces and increases the risk of autoimmune disease.
15
           261. Gardasil has been linked to a myriad of autoimmune disorders, including but
16
     not limited, to: Guillain–Barré syndrome (“GBS”), postural orthostatic tachycardia
17
     syndrome    (“POTS”),     Orthostatic   Intolerance   (“OI”),   chronic    inflammatory
18
     demyelinating polyneuropathy (“CDIP”), small fiber neuropathy (“SNF”), systemic
19
     lupus erythematosus (“SLE”), immune thrombocytopenic purpura (“ITP”), multiple
20
     sclerosis (“MS”), acute disseminated encephalomyelitis (“ADEM”), antiphospholipid
21
     syndrome (“APS”), transverse myelitis, rheumatoid arthritis, interconnective tissue
22
     disorder, autoimmune pancreatitis (“AIP”) and autoimmune hepatitis.
23
           262. Gardasil has also been linked to a myriad of diseases and symptoms that are
24
     associated with induced-autoimmune disease, including for example, fibromyalgia,
25
     dysautonomia, premature ovarian failure, chronic fatigue syndrome (“CFS”), chronic
26
     regional pain syndrome (“CRPS”), cognitive dysfunction, migraines, severe headaches,
27
     persistent gastrointestinal discomfort, widespread pain of a neuropathic character,
28
     encephalitis syndrome, autonomic dysfunction, joint pain, and brain fog.
                                         43
                                     COMPLAINT
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 1        263. In a 2015 textbook, VACCINES AND AUTOIMMUNITY, edited by Dr. Yehuda
 2 Shoenfeld, the father of autoimmunology research, and many of the world’s leading

 3 autoimmunity experts, the scientists concluded that Gardasil can cause autoimmune

 4 disorders because of the vaccine’s strong immune stimulating ingredients. See Lucija

 5 Tomljenovic & Christopher A. Shaw, Adverse Reactions to Human Papillomavirus

 6 Vaccines, VACCINES & AUTOIMMUNITY 163 (Yehuda Shoenfeld et al. eds., 2015).

 7        264. Medical experts have opined that the mixture of adjuvants contained in
 8 vaccines, in particular in the Gardasil vaccines, is responsible for post-vaccination

 9 induced autoimmune diseases in select patients. The risks have become so prolific that
10 medical experts have coined a new umbrella syndrome – Autoimmune/Inflammatory

11 Syndrome Induced by Adjuvants (“ASIA”) to refer to the spectrum of immune-mediated

12 diseases triggered by an adjuvant stimulus contained in vaccines, such as aluminum. See

13 e.g., YEHUDA SHOENFELD ET AL, EDS., VACCINES & AUTOIMMUNITY 2 (2015).

14        265. Indeed, even in animal studies, it has been revealed that aluminum adjuvants
15 can induce

16 autoimmune disease in tested animals.      By way of example, in a series of studies
17 conducted by Lluís Luján, DVM, Ph.D., and his colleagues, it was revealed that sheep

18 injected with aluminum-containing adjuvants commonly come down with severe

19 autoimmune diseases and other adverse reactions.

20        266. Specific to the Gardasil vaccines, which contain adjuvants, including,
21 amorphous aluminum hydroxyphosphate sulfate (AAHS) and the previously undisclosed

22 HPV L1 gene DNA fragments, a number of mechanisms of action have been outlined (as

23 discussed infra) as to how Gardasil induces autoimmune disease in select patients.

24        267. Given the number of HPV strains that exist, a great part of the human
25 population has HPV, however, HPV by itself is generally not immunogenic, and

26 generally does not evoke immune responses. Indeed, HPV shares a high number of

27 peptide sequences with human proteins, so that the human immune system generally does

28 not react against HPV in order to not harm self-proteins. Immunotolerance thus generally

                                        44
                                    COMPLAINT
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 1 blocks reactions against HPV in order to avoid autoimmune attacks against the human

 2 proteins.

 3        268. To induce anti-HPV immune reactions, Merck added various adjuvants,
 4 including amorphous aluminum hydroxyphosphate sulfate (AAHS), to the Gardasil

 5 vaccine. Adjuvants, such as aluminum, are inflammatory substances that hyperactivate

 6 the immune system.        Adjuvants are thus the “secret sauce” used by Merck to
 7 hyperactivate the immune system and make HPV immunogenic.

 8        269. While adjuvants are added with the intent of destroying the HPV virus, they
 9 also can have the unintended result of rendering the immune system “blind” and unable
10 to distinguish human proteins from HPV proteins – accordingly, human proteins that

11 share peptide sequences with HPV are at risk of also being attacked by the vaccine.

12        270. While Gardasil causes immune hyperactivation and production of anti-HPV
13 antibodies to fend off certain strains of the HPV virus, it can also result in the immune

14 system losing its ability to differentiate human proteins from foreign proteins, causing

15 the immune system to attack the body’s own proteins and organs. Because of the massive

16 peptide commonality between HPV and human proteins, the indiscriminate attack

17 triggered by the Gardasil adjuvants will cause massive cross-reactions and dangerous

18 attacks against human proteins, leading to a number of autoimmune diseases manifested

19 throughout the different organs of the body. This process is sometimes referred to as

20 “molecular mimicry.”
21        271. In addition to “molecular mimicry,” other mechanisms of action that explain
22 how Gardasil can induce autoimmune disease are “epitope spreading,” whereby invading

23 Gardasil antigens, including the toxic aluminum adjuvant, accelerate autoimmune

24 process by location activation of antigen presenting cells and “bystander activation,”

25 wherein antigens and the aluminum adjuvants in the Gardasil vaccine activate pre-primed

26 autoreactive T cells, which can initiate autoimmune disease (bystander activation of

27 autoreactive immune T cells), or where virus-specific T cells initiate bystander activation

28 resulting in the immune system killing uninfected and unintended neighboring cells.

                                        45
                                    COMPLAINT
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 1        272. Relevant to the injuries at issue in this case, when a person is lying down,
 2 approximately one-quarter of their blood volume resides in the chest area. When the

 3 person stands up, a significant amount of that blood shifts to the lower extremities. This

 4 causes impaired return of blood flow to the heart which also reduces blood pressure. In

 5 healthy individuals, the autonomic nervous system adjusts the heartrate to counteract this

 6 effect and the hemodynamic changes are negligible. However, in individuals (such as

 7 Plaintiff) who are now suffering from dysautonomia or autonomic ailments, such as

 8 POTS or OI, the body’s ability to adjust the heartrate and compensate for the blood flow

 9 is corrupted resulting in a host of wide ranging symptoms, including but not limited to,
10 dizziness, lightheadedness, vertigo, woozy sensation, chronic headaches, vision issues

11 due to the loss of blood flow to the brain, light and sound sensitivity, loss of

12 consciousness, shortness of breath, chest pain, gastrointestinal issues, body pains,

13 insomnia, and confusion and/or difficulty sleeping. In certain cases of POTS, patients

14 will also be diagnosed with other medical conditions, including but not limited to, chronic

15 fatigue syndrome and fibromyalgia.

16        273. Medical research has determined that certain dysautonomia diseases such as
17 POTS and OI have an autoimmune etiology. Norepinephrine, a key neurotransmitter of

18 the sympathetic (“fight or flight”) system, exerts its mechanism of action by binding to

19 receptors located in the smooth muscle of the blood vessels and various organs, including

20 the heart. These receptors include alpha-1, alpha-2, beta-1, beta-2 and beta-3 receptors
21 and, as a group, are generally known as the adrenergic receptors.          The adrenergic
22 receptors, and other receptors, including but not limited to, the ganglionic and muscarinic

23 acetylcholine receptors are believed to be affected in certain cases of POTS and OI. See

24 e.g., Hongliang Li et al., Autoimmune Basis for Postural Tachycardia Syndrome, 3 J.

25 AMERICAN HEART ASSOC. e000755 (2014); Artur Fedorowski et al., Antiadrenergic

26 Autoimmunity in Postural Tachycardia Syndrome, 19 EUROPACE 1211 (2017);

27 Mohammed Ruzieh et al., The Role of Autoantibodies in the Syndromes of Orthostatic

28 Intolerance: A Systematic Review, 51 SCANDINAVIAN CARDIOVASCULAR J. 243 (2017);

                                        46
                                    COMPLAINT
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 1 Shu-ichi Ikeda et al., Autoantibodies Against Autonomic Nerve Receptors in Adolescent

 2 Japanese Girls after Immunization with Human Papillomavirus Vaccine, 2 ANNALS OF

 3 ARTHRITIS AND CLINICAL RHEUMATOLOGY 1014 (2019); William T. Gunning, Postural

 4 Orthostatic Tachycardia Syndrome is Associated With Elevated G-Protein Coupled

 5 Receptor Autoantibodies, 8 J. AMERICAN HEART ASSOC. e013602 (2019).

 6        274. A variety of published medical journal articles have discussed the
 7 association between Gardasil and a myriad of serious injuries and have reported on

 8 patients developing POTS, OI, fibromyalgia and other symptoms of autonomic

 9 impairment following Gardasil vaccination.        See Svetlana Blitshetyn, Postural
10 Tachycardia Syndrome After Vaccination with Gardasil, 17 EUROPEAN J. OF NEUROLOGY

11 e52 (2010); Svetlana Blitshetyn, Postural Tachycardia Syndrome Following Human

12 Papillomavirus Vaccination, 21 EUROPEAN J. OF NEUROLOGY 135 (2014); Tomomi

13 Kinoshita et al., Peripheral Sympathetic Nerve Dysfunction in Adolescent Japanese Girls

14 Following Immunization With Human Papillomavirus Vaccine, 53 INTERNAL MEDICINE

15 2185 (2014); Louise S. Brinth et al., Orthostatic Intolerance and Postural Tachycardia

16 Syndrome As Suspected Adverse Effects of Vaccination Against Human Papilloma Virus,

17 33 VACCINE 2602 (2015); Manuel Martinez-Lavin et al., HPV Vaccination Syndrome. A

18 Questionnaire Based Study, 34 J. CLINICAL RHEUMATOLOGY 1981 (2015); Louise S.

19 Brinth et al., Is Chronic Fatigue Syndrome/Myalgic Encephalomyelitis a Relevant

20 Diagnosis in Patients with Suspected Side Effects to Human Papilloma Virus Vaccine, 1
21 INT. J. OF VACCINE & VACCINATION 3 (2015); Jill R. Schofield et al., Autoimmunity,

22 Autonomic Neuropathy, and HPV Vaccination, A Vulnerable Subpopulation, CLINICAL

23 PEDIATRICS (2017); Rebecca E. Chandler et al., Current Safety Concerns With Human

24 Papillomavirus Vaccine: A Cluster Analysis of Reports in VigiBase, 40 DRUG SAFETY 81

25 (2017); Svetlana Blitshetyn et al., Autonomic Dysfunction and HPV Immunization An

26 Overview, IMMUNOLOGIC RESEARCH (2018); and Svetlana Blitshetyn, Human Papilloma

27 Virus (HPV) Vaccine Safety Concerning POTS, CRPS and Related Conditions, CLINICAL

28 AUTONOMIC RESEARCH (2019).

                                       47
                                   COMPLAINT
      Case 3:22-cv-00423-RJC-DCK Document 1 Filed 03/21/22 Page 47 of 91
 1        275. In a 2017 review, Drs. Tom Jefferson and Lars Jørgensen criticized the
 2 European Medicines Agency (“EMA”) for turning a blind eye to the debilitating

 3 autoimmune injuries, including CRPS and POTS that young women had suffered

 4 following vaccination with HPV vaccine. Tom Jefferson et al., Human Papillomavirus

 5 Vaccines, Complex Regional Pain Syndrome, Postural Orthostatic Tachycardia

 6 Syndrome, and Autonomic Dysfunction – A Review of the Regulatory Evidence from the

 7 European Medicines Agency, 3 INDIAN J. OF MED. ETHICS 30 (Jan. – March 2017).

 8        276. In a separate article, the same authors describe their process for extracting
 9 data from not only peer-reviewed journal publications, but also unpublished data from
10 pharmaceutical company clinical study reports and trial register entries from

11 ClinicalTrials.gov, under the assumption that “more than half of all studies are never

12 published, and the published studies’ intervention effects are often exaggerated in

13 comparison to the unpublished studies. This introduces reporting bias that undermines

14 the validity of systematic reviews. To address reporting bias in systematic reviews, it is

15 necessary to use industry and regulatory trial registers and trial data—in particular, the

16 drug manufacturers’ complete study programs.” They found that 88 percent of industry

17 studies were solely industry funded and found serious deficiencies and variability in the

18 availability of HPV vaccine study data. For example, only half of the completed studies

19 listed on ClinicalTrials.gov posted their results. The clinical study reports the authors

20 obtained confirmed that the amount of information and data are vastly greater than that
21 in journal publications. When the authors compared the data the EMA used (which was

22 provided by GlaxoSmithKline and Merck Sharp and Dohme) to conduct their review of

23 the relationship between HPV vaccination and both POTS and CRPS, the authors found

24 that only 48 percent of the manufacturers’ data were reported. According to the authors,

25 “we find this very disturbing.” Lars Jørgensen et al., Index of the Human Papillomavirus

26 (HPV) Vaccine Industry Clinical Study Programmes and Non-Industry Funded Studies:

27 A Necessary Basis to Address Reporting Bias in a Systematic Review, 7 SYSTEMATIC

28 REVIEW 8 (2018).

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                                    COMPLAINT
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 1        277. Likewise, in a recently released February 2020 peer-reviewed study,
 2 researchers who analyzed the available clinical trial data for all HPV vaccines, which

 3 include the Gardasil vaccines and another HPV vaccine currently only available in

 4 Europe, concluded that “HPV vaccines increased serious nervous disorders.”               Lars
 5 Jørgensen et al., Benefits and Harms of the Human Papillomavirus (HPV) Vaccines:

 6 Systemic Review with Meta-Analyses of Trial Data from Clinical Study Reports, 9

 7 SYSTEMATIC REVIEWS 43 (February 2020).

 8        278. In addition, Jørgensen and his co-authors observed that, in reanalyzing the
 9 association between HPV vaccines and one specific autoimmune disease, POTS, the
10 HPV vaccines were associated with a nearly two-fold increased risk of POTS. Id.

11        279. Jørgensen and his co-authors also noted many of the same shortcomings
12 associated with the Gardasil clinical trials as have already been discussed in this

13 Complaint, including for example, the fact that no true placebo was utilized by Merck as

14 a comparator (i.e., the comparator/control used by Merck in the Gardasil clinical trials

15 contained aluminum adjuvant).         The researchers noted that “[t]he use of active
16 comparators may have underestimated harms related to HPV vaccines,” and that “[t]he

17 degree of harms might therefore be higher in clinical practice than in the trials.” Id.

18        280. Jørgensen and his co-authors also noted that the clinical trials revealed that
19 Gardasil 9 induced more harms than Gardasil, which could be explained by the fact that

20 Gardasil 9 contains more of the AAHS aluminum adjuvant (500 micrograms of AAHS
21 in Gardasil-9 vs. 225 micrograms of AAHS in Gardasil), and this dose-response

22 relationship further corroborates the plausible claim that the AAHS aluminum adjuvant

23 is a culprit in causing adverse events. Id.

24        281. Other researchers, including Tomljenovic and Shaw, who have closely
25 looked into Gardasil, have opined that risks from the Gardasil vaccine seem to

26 significantly outweigh the as yet unproven long-term benefits. In their view, vaccination

27 is unjustified if the vaccine carries any substantial risk, let alone a risk of death, because

28 healthy teenagers face an almost zero percent risk of death from cervical cancer.

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 1

 2              K. Merck has Concealed the Fact that Gardasil Increases the Risk of
                   Fertility Problems
 3         282. Merck has never tested the impact of the Gardasil vaccines on human
 4 fertility.

 5         283. Nevertheless, study volunteers reported devastating impacts on human
 6 fertility during combined trials, offering substantial evidence that the vaccine may be

 7 causing widespread impacts on human fertility, including increases in miscarriage, birth

 8 defects, premature ovarian failure and premature menopause in girls and young women.

 9         284. One of the serious adverse events now emerging in vaccinated girls,
10 including teens, is premature ovarian failure. See, e.g., D. T. Little and H. R. Ward,

11 Adolescent Premature Ovarian Insufficiency Following Human Papillomavirus

12 Vaccination: A Case Series Seen in General Practice, JOURNAL OF INVESTIGATIVE

13 MEDICINE HIGH IMPACT, Case Reports 1-12 (Oct.-Dec. 2014); D. T. Little and H. R.

14 Ward, Premature ovarian failure 3 years after menarche in a 16-year-old girl following

15 human papillomavirus vaccination, BMJ CASE REPORTS (September 30, 2012).

16         285. Premature ovarian failure can occur after aluminum destroys the maturation
17 process of the eggs in the ovaries.

18         286. Fertility has plummeted among American women following the 2006 mass
19 introduction of the Gardasil vaccine. This is most evident in teen pregnancy statistics

20 where numbers have more than halved since 2007.
21         287. The total fertility rate for the United States in 2017 continued to dip below
22 what is needed for the population to replace itself, according to a report by the National

23 Center of Health Statistics issued in January 2019, and the rate for women 15 to 44 fell

24 another 2 percent between 2017 and 2018.

25              L. There were an Increased Number of Deaths in the Gardasil Studies
26         288. Merck’s own preliminary studies predicted that Gardasil would kill and
27 injure far more Americans than the HPV virus, prior to the introduction of the vaccine.

28         289. The average death rate in young women in the U.S. general population is

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                                    COMPLAINT
       Case 3:22-cv-00423-RJC-DCK Document 1 Filed 03/21/22 Page 50 of 91
 1 4.37 per 10,000. See Brady E. Hamilton et al., “Births: Provisional Data for 2016,” Vital

 2 Statistics Rapid Release, Report No. 002, June 2017.

 3         290. The Gardasil pooled group had a death rate of 8.5 per 10,000, or almost
 4 double the background rate in the U.S.

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14         291. When Merck added in deaths from belated clinical trials, the death rate
15 jumped to 13.3 per 10,000 (21 deaths out of 15,706).

16         292. Merck dismissed all deaths as coincidences.
17         293. The total number of deaths was 21 in the HPV vaccine group and 19 in the
18 comparator (AAHS) groups.

19         294. The death rate among vaccine recipients was 13.3 per 10,000, or 133 per
20 100,000 (21/15,706).
21         295. To put this in perspective, the death rate from cervical cancer in the United
22 States is 2.3 per 100,000 women. This means that, according to Merck’s own data, a girl

23 is 58 times more likely to die from Gardasil than from cervical cancer.

24              M. Post-Marketing Injuries -- The Raft of Injuries Seen in Merck’s
                   Clinical Trials Has Now Become A Population-Wide Chronic Disease
25                 Epidemic
           296. By 2010, reports coming in from all over the world linked the Gardasil
26
     vaccine to bizarre and troubling symptoms.
27
           297. Many Gardasil survivors will have lifelong handicaps.
28

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                                     COMPLAINT
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 1        298. The severe adverse events from the Gardasil vaccination, seen since its
 2 widespread distribution, are similar to those injuries that Merck covered up during its

 3 clinical trials. They include autoimmune diseases, suicides, deaths, premature ovarian

 4 failures, reproductive problems, infertility, cervical cancer, sudden collapse, seizures,

 5 multiple sclerosis, strokes, heart palpitations, chronic muscle pain, complex regional pain

 6 syndrome, and weakness.

 7        299. Other frequently reported injuries include disturbances of consciousness;
 8 systemic pain including headache, myalgia, arthralgia, back pain and other pain; motor

 9 dysfunction, such as paralysis, muscular weightiness, and involuntary movements;
10 numbness, and sensory disturbances; autonomic symptoms including hypotension,

11 tachycardia, nausea, vomiting, and diarrhea; respiratory dysfunction, including dyspnea,

12 and asthma; endocrine disorders, such as menstrual disorder and hypermenorrhea; and

13 lastly, hypersensitivity to light, heart palpitations, migraine headaches, dizziness,

14 cognitive deficits, personality changes, vision loss, joint aches, headaches, brain

15 inflammation, chronic fatigue, death, and severe juvenile rheumatoid arthritis.

16        300. The data show that Gardasil is yielding far more reports of adverse events
17 than any other vaccine. For example, Gardasil had 8.5 times more emergency room

18 visits, 12.5 times more hospitalizations, 10 times more life-threatening events, and 26.5

19 more disabilities than Menactra, another vaccine with an extremely high-risk profile.

20        301. As of December 2019, there have been more than 64,000 Gardasil adverse
21 events reported to the FDA’s Vaccine Adverse Event Reporting System (“VAERS”)

22 since 2006.

23        302. Moreover, studies have shown that only approximately 1 percent of adverse
24 events are actually reported to FDA’s voluntary reporting systems, thus, the true number

25 of Gardasil adverse events in the United States may be as high as 6.4 million incidents.

26        303. The Vaccine Injury Compensation Program has paid out millions of dollars
27 in damages for Gardasil-induced injuries and deaths.

28        304. The adverse events also include deaths. Parents, doctors, and scientists have

                                        52
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       Case 3:22-cv-00423-RJC-DCK Document 1 Filed 03/21/22 Page 52 of 91
 1 reported hundreds of deaths from the Gardasil vaccine, post-marketing.

 2        305. In order to conceal Gardasil’s link to the deaths of teenagers, Merck has
 3 submitted fraudulent reports to VAERS, and posts fraudulent and misleading statements

 4 on its Worldwide Adverse Experience System.

 5        306. For example, Merck attributed the death of a young woman from Maryland,
 6 Christina Tarsell, to a viral infection. Following years of litigation, a court determined

 7 that Gardasil caused Christina’s death. There was no evidence of viral infection. Merck

 8 invented this story to deceive the public about Gardasil’s safety.

 9        307. Merck submitted fraudulent information about Christina Tarsell’s death to
10 its Worldwide Adverse Experience System and lied to the FDA through the VAERS

11 system. Merck claimed that Christina’s gynecologist had told the company that her death

12 was due to viral infection. Christina’s gynecologist denied that she had ever given this

13 information to Merck. To this day, Merck has refused to change its false entry on its own

14 reporting system.

15
                N. The Gardasil Vaccines’ Harms Are Not Limited to the United States,
                   Rather the Vaccines Have Injured Patients All Over the World
16        308. Gardasil is used widely in the international market. Widespread global
17 experience has likewise confirmed that the vaccine causes serious adverse events with

18 minimal proven benefit.

19        309. According to the World Health Organization’s Adverse Event Databases,
20 there have been more than 100,000 serious adverse events associated with Gardasil,
21 outside   the   Americas.     See   WHO      Vigibase    database,   keyword    Gardasil:
22 http://www.vigiaccess.org.

23                      i.   In Light of Gardasil’s Serious and Debilitating Adverse
                             Events, the Japanese Government Rescinded Its
24                           Recommendation that Girls Receive Gardasil

25        310. In Japan, a country with a robust history of relative honesty about vaccine
26 side effects, the cascade of Gardasil injuries became a public scandal.

27        311. Japan’s health ministry discovered adverse events reported after Gardasil
28 were many times higher than other vaccines on the recommended schedule. These

                                        53
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       Case 3:22-cv-00423-RJC-DCK Document 1 Filed 03/21/22 Page 53 of 91
 1 included seizures, severe headaches, partial paralysis, and complex regional pain

 2 syndrome. See Hirokuni Beppu et al., Lessons Learnt in Japan From Adverse Reactions

 3 to the HPV Vaccine: A Medical Ethics Perspective, 2 INDIAN J MED ETHICS 82 (April-

 4 June 2017).

 5        312. Japanese researchers found that the adverse events rate of the HPV vaccine
 6 was as high as 9 percent, and that pregnant women injected with the vaccine aborted or

 7 miscarried 30 percent of their babies. See Ministry of Health, Labour and Welfare,

 8 Transcript “The Public Hearing on Adverse Events following HPV vaccine in Japan,”

 9 February 26, 2014.
10        313. The injuries caused the Japanese government to rescind its recommendation
11 that girls receive the HPV vaccine.

12        314. Japan withdrew its recommendation for Gardasil three months after it had
13 added the vaccine to the immunization schedule, due to “an undeniable causal

14 relationship between persistent pain and the vaccination.”

15        315. Uptake rates for the vaccine in Japan are now under 1 percent, compared to
16 53.7 percent fully vaccinated teenaged girls in the United States.

17        316. In late 2016 Japanese industry watchdog, MedWatcher Japan issued a
18 scathing letter faulting the WHO for failing to acknowledge the growing body of

19 scientific evidence demonstrating high risk of devastating side effects.

20        317. In 2015, the Japanese Association of Medical Sciences issued official
21 guidelines for managing Gardasil injuries post-vaccination.

22        318. That same year, the Japanese Health Ministry published a list of medical
23 institutions where staffs were especially trained to treat patients who had sustained

24 Gardasil-induced injuries.

25        319. The Japanese government also launched a series of special clinics to evaluate
26 and treat illnesses caused by the Gardasil vaccines.

27        320. The president of the Japanese Association of Medical Sciences stated that
28 there was no proof that the vaccines prevent cancer.

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 1           321. These were developments that Merck was extremely anxious to suppress.
 2           322. Merck hired the think tank, the Center for Strategic and International Studies
 3 (“CSIS”) and Professor Heidi Larson of the Vaccine Confidence Project in London, to

 4 assess the reasons for the Japanese situation. The overall conclusion was that the

 5 symptoms the girls were suffering from were psychogenic in nature and were a result of

 6 rumors spread online. In essence, Merck blamed the victims for the Gardasil-induced

 7 adverse events in Japan.

 8                          ii.   Denmark Has Opened Specialized Clinics Specifically
                                  Focused on Treating Gardasil-Induced Injuries, Including
 9
                                  Gardasil-Induced Autoimmune Diseases
10           323. In March 2015, Denmark announced the opening of five new “HPV clinics”
11 to treat children injured by Gardasil vaccines. Over 1,300 cases flooded the HPV clinics

12 shortly after opening. See Zosia Chustecka, Chronic Symptoms After HPV Vaccination:

13 Danes Start Study, MEDSCAPE (November 13, 2015).

14                         iii.   Gardasil-Induced Adverse Events Caused the Government
15                                in Colombia to Conclude that Gardasil Would No Longer
                                  Be Mandatory
16
             324. In Colombia, more than 800 girls in the town of El Carmen de Bolivar
17
     reported reactions ranging from fainting to dizziness to paralysis in March of 2014,
18
     following vaccination with Gardasil.
19
             325. With protests erupting across the country, the Colombian attorney general
20
     asked the Constitutional Court to rule on a lower court ruling on the outcome of a case
21
     of an injured girl.
22
             326. In 2017, in response to an unresolved case, Colombia’s constitutional court,
23
     ruled that the Colombian government could not infringe on the bodily integrity of its
24
     citizens. This decision meant that the government could not require the HPV vaccine to
25
     be mandatory.
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 1

 2                     iv.     India Halted Gardasil Trials and Accused Merck of
                               Corruption After the Death of Several Young Girls Who
 3
                               were Participants in the Trial
 4
           327. Seven girls died in the Gardasil trials in India coordinated by Merck and the
 5
     Gates Foundation. A report by the Indian Parliament accused the Gates Foundation and
 6 Merck of conducting “a well-planned scheme to commercially exploit” the nation’s

 7 poverty and powerlessness and lack of education in rural India in order to push Gardasil.

 8 See 72nd Report on the Alleged Irregularities in the Conduct of Studies Using Human

 9 Papilloma Virus (HPV) Vaccine by Programme for Appropriate Technology in Health
10 (PATH) in India (August 2013).

11         328. The report alleges that Merck (through PATH, to whom it supplied vaccines)
12 and the Gates Foundation resorted to subterfuge that jeopardized the health and well-

13 being of thousands of vulnerable Indian children. The parliamentary report makes clear

14 that the clinical trials could not have occurred without Merck corrupting India’s leading

15 health organizations. Id.

16         329. The Report accused PATH, which was in collaboration with Merck, of lying
17 to illiterate tribal girls to obtain informed consent, widespread forging of consent forms

18 by Merck operatives, offering financial inducements to participate, and providing grossly

19 inadequate information about potential risks. Id.

20         330. Many of the participants suffered adverse events including loss of menstrual
21 cycles and psychological changes like depression and anxiety. According to the report:

22 PATH’s “sole aim has to been to promote the commercial interests of HPV vaccine

23 manufacturers, who would have reaped a windfall of profits had they been successful in

24 getting the HPV vaccine included in the universal immunization program of the country...

25 This [conduct] is a clear-cut violation of the human rights of these girls and adolescents.”

26 Id.

27         331. A 2013 article in the South Asian Journal of Cancer concludes that the HPV
28 vaccine program is unjustifiable. “It would be far more productive to understand and

                                          56
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 1 strengthen the reasons behind the trend of decreasing cervical cancer rates than to expose

 2 an entire population to an uncertain intervention that has not been proven to prevent a

 3 single cervical cancer or cervical cancer death to date.” See Sudeep Gupta, Is Human

 4 Papillomavirus Vaccination Likely to be a Useful Strategy in India? 2 SOUTH ASIAN J

 5 CANCER 194 (October-December 2014).

 6         332. The article goes on to say: “A healthy 16-year-old is at zero immediate risk
 7 of dying from cervical cancer, but is faced with a small, but real risk of death or serious

 8 disability from a vaccine that has yet to prevent a single case of cervical cancer... There

 9 is a genuine cause for concern regarding mass vaccination in this country.” Id.
10         333. In April 2017, the Indian government blocked the Gates Foundation from
11 further funding of the Public Health Foundation of India and other non-governmental

12 organizations, effectively barring them from influencing India’s national vaccine

13 program. See Nida Najar, India’s Ban on Foreign Money for Health Group Hits Gates

14 Foundation, THE NEW YORK TIMES, April 20, 2017.
                 O. Merck’s Fraud Has Paid Off Handsomely Resulting in Over $3
15
                    Billion in Gardasil Sales Annually
16
           334. Merck’s corruption and fraud in researching, testing, labeling, and
17
     promoting Gardasil have paid off handsomely.
18
           335. Presently, two doses of Gardasil 9 typically cost about $450, plus the cost of
19
     two office visits.
20
           336. By comparison, the cost of the DTaP vaccine is about $25 per dose.
21         337. The HPV vaccine is the most expensive vaccine on the market.
22         338. Since approximately 1 in 42,000 American women die of cervical cancer
23 annually, the cost of avoiding a single death is over $18 million, assuming the Gardasil

24 vaccine is 100 percent effective.

25         339. In 2018, the Gardasil vaccines made $2.2 billion for Merck in the U.S. alone.
26         340. In 2019, Merck made $3.7 billion in worldwide revenues from the Gardasil
27 vaccines.

28         341. Gardasil is Merck’s most lucrative vaccine and its third-highest selling
                                         57
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 1 product.

 2        342. Gardasil is crucial to Merck’s overall financial health. Merck identifies
 3 Gardasil as one of its “key products,” meaning that any change in Gardasil’s cash flow

 4 affects the corporation as a whole.

 5        343. Merck’s 10-K financial reports note that, for example, the discovery of a
 6 previously unknown side effect, or the removal of Gardasil from the market, would hurt

 7 Merck’s bottom line.

 8        III.   Jacob Levy Sustained Autoimmune Disease, Autonomic Dysfunction
                 and Other Serious Injuries, as A Result of His Gardasil Injections
 9
                 A. Gardasil and Its Ingredients Caused Plaintiff’s Autoimmune Disease
10                  and Other Related Injuries and Has Resulted in Him Suffering from
11                  Severe, Debilitating, Disabling and Painful Chronic Injuries
12         344. Plaintiff was 11 years old when he received his first dosage of Gardasil on

13 October 10, 2017.

14         345. Plaintiff’s mother, Juliette Levy, agreed to her son receiving Gardasil

15 injections after having been exposed to marketing by Merck, that Gardasil is very safe,

16 that Gardasil prevents cancer and that teenagers must get the Gardasil vaccine. Plaintiff’s

17 mother relied upon Merck’s ubiquitous representations concerning the safety and

18 efficacy of the Gardasil vaccine, in consenting to her son’s Gardasil vaccinations.

19         346. Prior to receiving his Gardasil injections, Plaintiff had no autoimmune

20 diseases, and no autonomic issues. Before injection with Gardasil, plaintiff was an 11
21 year old boy in 4th grade at Villa Park Elementary School in Orange County, California.

22 He was healthy, active, personable and an outstanding student. For several years, he

23 played sports three seasons out of the year- soccer in the fall and spring; basketball in the

24 winter. He maintained a 4.0 GPA and was on the honor roll all three trimesters of the

25 school year. He was well liked by his classmates and teammates and had a large group

26 of friends. He has had a severe peanut/tree nut allergy since he was a baby, but has

27
     otherwise always been a kind, sweet, healthy and happy boy.

28
           347. On October 10, 2017, Plaintiff’s health care provider in the City of Tustin,

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 1 California, recommended that Plaintiff receive the Gardasil vaccine in two doses, six

 2 months apart, which was stated as a safe and effective vaccine for preventing cervical

 3 cancer.     In light of the doctor’s recommendations, as well as Merck’s relentless
 4 marketing and advertising messages, to which Plaintiff’s mother had been exposed

 5 concerning the safety and efficacy of Gardasil, Plaintiff’s mother consented to Plaintiff

 6 being injected with the “cervical cancer vaccine,” Gardasil.

 7        348. Plaintiff received the first dose of Gardasil on October 10, 2017, and the
 8 second dose on April 12, 2018.

 9        349. On or around April 22, 2018, Plaintiff started to develop a rash consisting of
10 raised, red, circular bumps on both legs and arms.       At the same time, he began to
11 experience pain in his left foot along with swelling, discoloration (redness), temperature

12 change (coldness) and peeling/sensitive skin. It was so painful he struggled to walk and

13 eventually his doctor ordered crutches. He missed school, physical education class and

14 sports due to the pain in his left foot. Plaintiff was also extremely worried about what

15 was going on with him.

16        350. Plaintiff had several additional visits with his pediatrician for the rash and
17 swollen/painful foot. His pediatrician became more concerned and ordered Plaintiff to

18 go to the Emergency Room at Children's Hospital Orange County (CHOC) on April 26,

19 2018. At the Emergency Room, he had an IV placed, blood drawn for lab work and an

20 examination.     He was diagnosed with Henoch-Schonlien Purpura but the doctor could
21 not determine what was causing the symptoms in Plaintiff’s left foot. The doctor

22 administered IV antibiotics. Plaintiff was instructed to continue with oral antibiotics and

23 follow up with a rheumatologist, infectious disease doctor, and his pediatrician, which

24 Plaintiff did.

25        351. On May 2, 2018, Plaintiff treated with his rheumatologist and was diagnosed
26 with complex regional pain syndrome (CRPS).

27        352. As the months progressed, so did Plaintiff’s injuries. He was seen by
28 multiple physicians and specialists for his complaints which now included: continued

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 1 rash on his legs, reoccurring and prolonged bouts of left foot pain, swelling and redness,

 2 continued symptoms associated with his diagnosis of CRPS and a further diagnosis of

 3 amplified musculoskeletal pain syndrome (AMPS).           Plaintiff continued to receive
 4 periodic Emergency Room care at CHOC for his rash and swollen, painful and red left

 5 foot.   Throughout the course of Plaintiff’s treatment, he was frequently placed on IV
 6 medication and had blood drawn. Plaintiff is terrified of needles and he often had to be

 7 sedated before the IV could be administered. He also received ultrasound and MRI of

 8 his left leg. Plaintiff had additional consultation with neurologists and rheumatologists.

 9 His treating rheumatologist for CRPS ordered physical therapy and psychological
10 treatment both through CHOC.       Plaintiff received sessions of physical therapy as well
11 as psychological counseling for a year and a half. Plaintiff’s rheumatologist advised that

12 CRPS is a lifelong autoimmune condition and that Plaintiff will continue to have

13 amplified pain episodes in the future. Plaintiff’s treating doctors noted HPV reaction in

14 relation to the onset of Plaintiff’s symptoms.

15         353. As a result of his post-Gardasil symptoms, Plaintiff was unable to engage in
16 normal activities that a normal young person would enjoy. Plaintiff was unable to attend

17 school and participate in developmental activities like soccer and basketball. Plaintiff

18 now lives with a permanent autoimmune disease and its ongoing residual pain.

19         354. Based upon his chronic and severe post-Gardasil symptoms, Plaintiff has
20 been diagnosed with various medical conditions, including but not limited to, CRPS,
21 AMPS, and autonomic dysfunction.

22         355. As previously discussed, the medical literature has documented other
23 patients who, like Plaintiff, have suffered serious autonomic dysfunctions, and who

24 experienced the same side effects as those Plaintiff has suffered, and who were diagnosed

25 with Gardasil-induced autonomic diseases. See E. Israeli et al., Adjuvants and

26 Autoimmunity, 18 LUPUS 1217 (2009); Darja Kanduc, Quantifying the Possible Cross-

27 Reactivity Risk of an HPV16 Vaccine, 8 JOURNAL OF EXPERIMENTAL THERAPEUTICS AND

28 ONCOLOGY 65 (2009); Svetlana Blitshetyn, Postural Tachycardia Syndrome After

                                        60
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 1 Vaccination with Gardasil, 17 EUROPEAN J. OF NEUROLOGY e52 (2010); Darja Kanduc,

 2 Potential Cross-Reactivity Between HPV16 L1 Protein and Sudden Death Associated

 3 Antigens, 9 JOURNAL OF EXPERIMENTAL THERAPEUTICS AND ONCOLOGY 159 (2011);

 4 Deirdre Little et al., Premature ovarian failure 3 years after menarche in a 16-year-old

 5 girl following human papillomavirus vaccination, BRIT. MED. J. CASE REPORTS (2012);

 6 Serena Colafrancesco et al., Human Papilloma Virus Vaccine and Primary Ovarian

 7 Failure: Another Facet of the Autoimmune Inflammatory Syndrome Induced by

 8 Adjuvants, 70 AM. J. REPRODUCTIVE IMMUNOLOGY 309 (2013); Maurizo Rinaldi et al.,

 9 Anti-Saccharomyces Cerevisiae Autoantibodies in Autoimmune Diseases: from Bread
10 Baking to Autoimmunity, 45 CLINICAL REVIEWS IN ALLERGY AND IMMUNOLOGY 152

11 (October 2013); Svetlana Blitshetyn, Postural Tachycardia Syndrome Following Human

12 Papillomavirus Vaccination, 21 EUROPEAN J. OF NEUROLOGY 135 (2014); Tomomi

13 Kinoshita et al., Peripheral Sympathetic Nerve Dysfunction in Adolescent Japanese Girls

14 Following Immunization With Human Papillomavirus Vaccine, 53 INTERNAL MEDICINE

15 2185 (2014); Christopher A. Shaw et al., Aluminum-Induced Entropy in Biological

16 Systems: Implications for Neurological Disease, JOURNAL OF TOXICOLOGY (2014);

17 Louise S. Brinth et al., Orthostatic Intolerance and Postural Tachycardia Syndrome As

18 Suspected Adverse Effects of Vaccination Against Human Papilloma Virus, 33 VACCINE

19 2602 (2015); Manuel Martinez-Lavin et al., HPV Vaccination Syndrome. A

20 Questionnaire Based Study, 34 J. CLINICAL RHEUMATOLOGY 1981 (2015); Louise S.
21 Brinth et al., Is Chronic Fatigue Syndrome/Myalgic Encephalomyelitis a Relevant

22 Diagnosis in Patients with Suspected Side Effects to Human Papilloma Virus Vaccine, 1

23 INT. J. OF VACCINE & VACCINATION 3 (2015); Jill R. Schofield et al., Autoimmunity,

24 Autonomic Neuropathy, and HPV Vaccination, A Vulnerable Subpopulation, CLINICAL

25 PEDIATRICS (2017); Rebecca E. Chandler et al., Current Safety Concerns With Human

26 Papillomavirus Vaccine: A Cluster Analysis of Reports in VigiBase, 40 DRUG SAFETY 81

27 (2017); Svetlana Blitshetyn et al., Autonomic Dysfunction and HPV Immunization An

28 Overview, IMMUNOLOGIC RESEARCH (2018); and Svetlana Blitshetyn, Human Papilloma

                                       61
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 1 Virus (HPV) Vaccine Safety Concerning POTS, CRPS and Related Conditions, CLINICAL

 2 AUTONOMIC RESEARCH (2019); Lars Jørgensen et al., Benefits and Harms of the Human

 3 Papillomavirus (HPV) Vaccines: Systemic Review with Meta-Analyses of Trial Data

 4 from Clinical Study Reports, 9 SYSTEMATIC REVIEWS 43 (February 2020).

 5        356. Plaintiff contends that his Gardasil injections caused him/her to develop
 6 serious and debilitating injuries, including but not limited to CRPS, AMPS, autonomic,

 7 neurological, heterogenous autoimmune disease, POTS, and dysautonomia, as well as a

 8 constellation of adverse symptoms, complications, injuries, and other adverse events,

 9 many of which are alleged herein and all of which were caused by Gardasil or otherwise
10 linked to his Gardasil-induced autoimmune disorder.

11               B. “It is Not Revolutions and Upheavals That Clear the Road to New
                    and Better Days, But Revelations, Lavishness and Torments of
12
                    Someone’s Soul, Inspired and Ablaze.” – Boris Pasternak, After the
13                  Storm
14        357.    Pursuant to Section 300aa-11(a) of the National Vaccine Injury
15 Compensation Program: “No person may bring a civil action for damages ...... against a

16 vaccine administrator or manufacturer in a State or Federal court for damages arising

17 from a vaccine-related injury ... associated with the administration of a vaccine .......

18 unless a petition has been filed, in accordance with section 300aa-16 of this title, for

19 compensation under the Program for such injury ... and (I) the United Stated Court of

20 Federal Claims has issued a judgment under section 300aa-12 of this title on such petition
21 and (II) such person elects under section 300aa-21(a) to file such an action.” See 42

22 U.S.C. §§ 300aa–11(a)(2)(A).

23        358. Title 42, Section 300aa-16 (c) further states: “If a petition is filed under
24 section 300aa-11 of this title for a vaccine-related injury or death, limitations of actions

25 under State law shall be stayed with respect to a civil action brought for such injury or

26 death for the period beginning on the date the Petition is filed and ending on the date…an

27 election is made under section 300aa-21(a) of this title to file the civil action ...” See 42

28 U.S.C. §§ 300aa–16(c).

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 1        359. In full compliance with the aforementioned federal law, Plaintiff duly filed
 2 his petition with the U.S. Court of Federal Claims seeking compensation for his Gardasil

 3 vaccine-related injuries under the National Vaccine Injury Compensation Program. The

 4 Order Concluding Proceedings was filed on September 8, 2021.

 5        360. Having complied with National Vaccine Injury Compensation Program
 6 administrative procedure and having duly filed his election to proceed with a civil action,

 7 Plaintiff hereby timely initiates the instant action against Merck, the manufacturer and

 8 promoter of the Gardasil vaccines which caused his debilitating injuries. Through this

 9 civil action, Plaintiff seeks to hold Merck accountable for its negligent, reckless, and
10 fraudulent conduct and he seeks full compensation from Merck for the physical and

11 emotional injuries and harms he sustained as a result of Gardasil.

12                                   CAUSES OF ACTION
13                                        COUNT ONE
14                                       NEGLIGENCE
15        361. Plaintiff incorporates by reference all other paragraphs of this Complaint as
16 if fully set forth herein and further alleges:

17        362. Merck is the researcher, manufacturer, labeler, and promoter of the Gardasil
18 and the subsequent Gardasil 9 vaccines.

19        363. Merck marketed Gardasil to patients, including teenagers such as Plaintiff
20 and his medical providers.
21        364. Merck had a duty to exercise reasonable care in the research, manufacture,
22 marketing, advertisement, supply, promotion, packaging, sale, and distribution of

23 Gardasil, including the duty to take all reasonable steps necessary to research,

24 manufacture, label, promote and/or sell a product that was not unreasonably dangerous

25 to consumers, users, and other persons coming into contact with the product.

26        365. At all times relevant to this litigation, Merck had a duty to exercise
27 reasonable care in the marketing, advertising, and sale of Gardasil. Merck’s duty of care

28 owed to consumers and the general public included providing accurate, true, and correct

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 1 information concerning the efficacy and risks of Gardasil and appropriate, complete, and

 2 accurate warnings concerning the potential adverse effects of Gardasil and its various

 3 ingredients and adjuvants.

 4        366. At all times relevant to this litigation, Merck knew or, in the exercise of
 5 reasonable care, should have known of the hazards and dangers of Gardasil and

 6 specifically, the serious, debilitating and potentially fatal adverse events associated with

 7 Gardasil, including but not limited to autoimmune diseases (including, but not limited to,

 8 POTS and OT), fibromyalgia, increased risk of cancer (including cervical cancer, which

 9 was the very cancer it was promoted as preventing), and death.
10        367. Accordingly, at all times relevant to this litigation, Merck knew or, in the
11 exercise of reasonable care, should have known that use of Gardasil could cause

12 Plaintiff’s injuries and thus created a dangerous and unreasonable risk of injury to the

13 users of these products, including Plaintiff.

14        368. Merck knew or, in the exercise of reasonable care, should have known that
15 its negligently and poorly performed clinical trials and studies were insufficient to test

16 the true long-term safety and efficacy of Gardasil.

17        369. Merck also knew, or, in the exercise of reasonable care, should have known
18 that its targeted consumers and patients (who were pre-teen and teen children), the

19 parents of these patients and the children’s medical providers were unaware of the true

20 risks and the magnitude of the risks associated with Gardasil and the disclosed and
21 undisclosed ingredients of Gardasil.

22        370. As such, Merck breached its duty of reasonable care and failed to exercise
23 ordinary care in the research, development, manufacturing, testing, marketing, supply,

24 promotion, advertisement, packaging, labeling, sale, and distribution of Gardasil, in that

25 Merck manufactured and produced a defective and ineffective vaccine, knew or had

26 reason to know of the defects and inefficacies inherent in its products, knew or had reason

27 to know that a patient’s exposure to Gardasil created a significant

28 risk of harm and unreasonably dangerous side effects, and failed to prevent or adequately

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 1 warn of these defects, risks and injuries.

 2        371. Merck failed to appropriately and adequately test the safety and efficacy of
 3 Gardasil and its individual ingredients and adjuvants.

 4        372. Despite the ability and means to investigate, study, and test its products and
 5 to provide adequate warnings, Merck has failed to do so. Indeed, Merck has wrongfully

 6 concealed information and has further made false and/or misleading statements

 7 concerning the safety and efficacy of Gardasil.

 8       373. Merck’s negligence is outlined in detail in this Complaint and included,
 9       among other things:
10              a)    Manufacturing, producing, promoting, creating, researching, labeling,
11                    selling, and/or distributing Gardasil without thorough and adequate
12                    pre-and post-market testing and studies;
13              b)    Manufacturing, producing, promoting, researching, labeling, selling,
14                    and/or distributing Gardasil while negligently and intentionally
15                    concealing and failing to accurately and adequately disclose the
16                    results of the trials, tests, and studies of Gardasil, and, consequently,
17                    the lack of efficacy and risk of serious harm associated with Gardasil;
18              c)    Failing to undertake sufficient studies and conduct necessary tests to
19                    determine the safety of the ingredients and/or adjuvants contained
20                    within Gardasil, and the propensity of these ingredients to render
21                    Gardasil toxic, increase the toxicity of Gardasil, whether these
22                    ingredients are carcinogenic or associated with
23                    autoimmune diseases and other injures;
24              d)    Negligently designing and conducting its clinical trials so as to prevent
25                    the clinical trials from revealing the true risks, including but not
26                    limited to, long terms risks and risks of autoimmune diseases
27                    associated with Gardasil;
28              e)    Negligently designing and conducting its clinical trials so as to mask

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 1                the true risks, including but not limited to, long terms risks and risks
 2                of autoimmune diseases and cancers associated with Gardasil;
 3           f)   Failing to test Gardasil against a true inert placebo and lying to the
 4                public that Gardasil was tested against a placebo, when in reality, all,
 5                or nearly all, studies used a toxic placebo that included the aluminum
 6                adjuvant AAHS;
 7           g)   Failing to have a sufficient number of studies for the targeted patient
 8                population which included pre-teen girls (and boys) between the ages
 9                of nine and 12;
10           h)   Not using the commercial dosage (and instead using a lower dosage
11                of the adjuvant and ingredients) in one of the key clinical trials used
12                to obtain licensing for the commercial dosage of Gardasil;
13           i)   Using restrictive exclusionary criteria in the clinical study patient
14                population (including for example, the exclusion of anyone who had
15                prior abnormal Pap tests, who had a history of immunological or
16                nervous system disorders, or was allergic to aluminum or other
17                ingredients), but then not revealing or warning about these
18                exclusionary criteria in the label and knowing that, for most of these
19                ingredients and allergies, there are limited resources for the public to
20                test for such allergies in advance of being vaccinated;
21           j)   Negligently designing and conducting its trials so as to create the
22                illusion of efficacy when in reality the Gardasil Vaccines have not
23                been shown to be effective against preventing cervical and anal
24                cancer;
25           k)   Failing to use reasonable and prudent care in the research,
26                manufacture, labeling and development of Gardasil so as to avoid the
27                risk of serious harm associated with the prevalent use of Gardasil;
28           l)   Failing to provide adequate instructions, guidelines, warnings, and

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 1                safety
 2                precautions to those persons who Merck could reasonably foresee
 3                would use and/or be exposed to Gardasil;
 4           m)   Failing to disclose to Plaintiff and his medical providers and to the
 5                general public that Gardasil is ineffective when used in patients who
 6                have previously been exposed to HPV, and also failing to disclose that
 7                Gardasil
 8                actually increases the risk of cervical cancer, including in any child or
 9                patient
10                who has previously been exposed to HPV;
11           n)   Failing to disclose to Plaintiff and his medical providers and to the
12                general public that use of and exposure to Gardasil presents severe
13                risks of cancer (including cervical cancer, the very cancer it is
14                promoted as preventing), fertility problems, autoimmune diseases and
15                other grave illnesses as alleged herein;
16           o)   Failing to disclose to Plaintiff and his medical providers and to the
17                general public that use of and exposure to Gardasil presents severe
18                risks of triggering and increasing the risk of various autoimmune
19                diseases, including but not limited to POTS and OI;
20           p)   Failing to disclose to Plaintiff and his medical providers and to the
21                general public that, contrary to Merck’s promotion of the vaccine,
22                Gardasil has not been shown to be effective at preventing cervical
23                cancer and that the safest and most effective means of monitoring and
24                combating cervical cancer is regular testing, including Pap tests;
25           q)   Representing that Gardasil was safe and effective for its intended use
26                when, in fact, Merck knew or should have known the vaccine was not
27                safe and not effective for its intended use;
28           r)   Falsely advertising, marketing, and recommending the use of

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 1                Gardasil, while concealing and failing to disclose or warn of the
 2                dangers Merck knew to be associated with or caused by the use of
 3                Gardasil;
 4           s)   Falsely promoting Gardasil as preventing cervical cancer when Merck
 5                knows
 6                that it has not done any studies to demonstrate that Gardasil prevents
 7                cervical cancer and, indeed, its clinical studies revealed that Gardasil
 8                actually increases the risk of cervical cancer;
 9           t)   Engaging in false advertising and disease mongering by scaring
10                parents and children into believing that cervical and anal cancer is far
11                more prevalent than it really is; that all cervical and anal cancer was
12                linked to HPV; that Gardasil prevented cervical and anal cancer, when
13                in reality none of these representations were true as cervical cancer
14                rates were declining in the United States due to Pap testing and
15                Gardasil has not been shown to prevent against all strains of HPV that
16                are associated with cervical and anal cancer and, indeed, it has never
17                been shown to prevent cervical and anal cancer;
18           u)   Failing to disclose all of the ingredients in Gardasil, including but not
19                limited to the fact that Gardasil contains dangerous HPV L1-DNA
20                fragments and that these DNA fragments could act as a Toll-Like
21                Receptor 9 (TLR9) agonist – further adjuvanting the vaccine and
22                making it more potent and dangerous;
23           v)   Declining to make any changes to Gardasil’s labeling or other
24                promotional materials that would alert consumers and the general
25                public of the true risks and defects of Gardasil;
26           w)   Systemically suppressing or downplaying contrary evidence about the
27                risks, incidence, and prevalence of the side effects of the Gardasil
28                Vaccines by, inter alia, orchestrating the retraction of peer-reviewed

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 1                     and published studies and vilifying and attempting to ruin the careers
 2                     of any scientists who openly question Gardasil’s safety and efficacy.
 3       374. Merck knew and/or should have known that it was foreseeable that patients,
 4 such as Plaintiff, would suffer injuries as a result of Merck’s failure to exercise ordinary

 5 care in the manufacturing, marketing, labeling, distribution, and sale of Gardasil.

 6       375. Plaintiff and, upon information and belief, his medical providers, did not
 7 know the true nature and extent of the injuries that could result from the intended use of

 8 and/or exposure to Gardasil or its adjuvants and ingredients.

 9       376. Merck’s negligence was the proximate cause of the injuries, harm, and
10 economic losses that Plaintiff suffered, and will continue to suffer, as described herein.

11       377. Had Merck not engaged in the negligent and fraudulent conduct alleged
12 herein and/or had Merck via its labeling, advertisements, and promotions provided

13 adequate and truthful warnings and properly disclosed and disseminated the true risks,

14 limitations, and lack of efficacy associated with Gardasil to medical providers, patients

15 and the public, then upon information and belief, Plaintiff’s medical providers would not

16 have offered or recommended Gardasil to Plaintiff. Moreover, even if after Merck’s

17 dissemination of truthful information concerning the true risks and efficacy limitation of

18 Gardasil, Plaintiff’s medical providers had offered Gardasil, then upon information and

19 belief, the providers would have heeded any warnings issued by Merck and relayed to

20 Plaintiff the safety risks and efficacy limitations that Merck should have warned him
21 about, but failed to do so. Had Plaintiff been informed of the true risks and efficacy

22 limitation concerning Gardasil, either through his medical providers or through Merck’s

23 ubiquitous direct-to-consumer promotional marketing, on which Plaintiff relied, then

24 Plaintiff would never have consented to Plaintiff being injected with Gardasil.

25       378. As a proximate result of Merck’s wrongful acts and omissions and its
26 negligent and fraudulent testing, labeling, manufacturing, marketing and promotion of

27 Gardasil, Plaintiff has suffered and continues to suffer severe and permanent physical

28 injuries, and associated symptomology and has suffered severe and permanent emotional

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 1 injuries, including pain and suffering. Plaintiff also has a substantial fear of suffering

 2 additional and ongoing harms, including but not limited to now being at an increased risk

 3 of cancer, and future symptoms and harms associated with his autoimmune disease and

 4 other injuries caused by Gardasil.

 5        379.     As a direct and proximate result of his Gardasil-induced injuries, Plaintiff
 6 has suffered and continues to suffer economic losses, including considerable financial

 7 expenses for medical care and treatment, and diminished income capacity, and he will

 8 continue to incur these losses and expenses in the future.

 9        380. Merck’s conduct, as described above, was aggravated, oppressive,
10 fraudulent, and malicious. Merck regularly risks the lives of patients, including Plaintiff,

11 with full knowledge of the limited efficacy of Gardasil and the severe and sometimes

12 fatal dangers of Gardasil. Merck has made conscious decisions to not warn, or inform

13 the unsuspecting public, including Plaintiff, and his medical providers. Merck’s conduct,

14 including its false promotion of Gardasil and its failure to issue appropriate warnings

15 concerning the severe risks of Gardasil, created a substantial risk of significant harm to

16 children and patients who were being injected with Gardasil, and therefore warrants an

17 award of punitive damages.

18        381. WHEREFORE, Plaintiff requests that the Court enter judgment in his favor
19 for compensatory damages and punitive damages, together with interest, and costs herein

20 incurred, and all such other and further relief as this Court deems just and proper.
21 Plaintiff also demands a jury trial on the issues contained herein.

22                                        COUNT TWO
23                                    STRICT LIABILITY
24                                   (FAILURE TO WARN)
25        382. Plaintiff incorporates by reference all other paragraphs of this Complaint as
26 if fully set forth herein, and further alleges:

27        383. Plaintiff brings this strict liability claim against Merck for failure to warn.
28        384. At all times relevant to this litigation, Merck engaged in the business of

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 1 researching, testing, developing, manufacturing, marketing, selling, distributing, and

 2 promoting Gardasil, which is defective and unreasonably dangerous to consumers,

 3 including Plaintiff, because it does not contain adequate warnings or instructions

 4 concerning the dangerous characteristics of Gardasil and its ingredients and adjuvants.

 5 These actions were under the ultimate control and supervision of Merck.

 6        385. Merck researched, developed, tested, manufactured, inspected, labeled,
 7 distributed, marketed, promoted, sold, and otherwise released into the stream of

 8 commerce Gardasil, and in the course of same, directly advertised or marketed the

 9 vaccine to consumers and end users, including Plaintiff and his medical providers, and
10 Merck therefore had a duty to warn of the risks associated with the reasonably foreseeable

11 uses of Gardasil and a duty to instruct on the proper, safe use of these products.

12        386. At all times relevant to this litigation, Merck had a duty to properly research,
13 test, manufacture, inspect, package, label, market, promote, sell, distribute, provide

14 proper warnings, and take such steps as necessary to ensure that Gardasil did not cause

15 users and consumers to suffer from unreasonable and dangerous risks. Merck had a

16 continuing duty to instruct on the proper, safe use of these products.           Merck, as
17 manufacturer, seller, or distributor of vaccines, is held to the knowledge of an expert in

18 the field.

19        387. At the time of manufacture, Merck could have provided warnings or
20 instructions regarding the full and complete risks of Gardasil because it knew or should
21 have known of the unreasonable risks of harm associated with the use of and/or exposure

22 to these products.

23        388. At all times relevant to this litigation, Merck failed to properly investigate,
24 study, research, test, manufacture, label or promote Gardasil.       Merck also failed to
25 minimize the dangers to children, patients, and consumers of Gardasil products and to

26 those who would foreseeably use or be harmed by Gardasil, including Plaintiff.

27        389. Despite the fact that Merck knew or should have known that Gardasil posed
28 a grave and unreasonable risk of harm (including but not limited to increased risk of

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 1 autoimmune disease, and the various other Gardasil induced injuries that Plaintiff has

 2 sustained), it failed to warn of the risks associated with Gardasil.        The dangerous
 3 propensities of Gardasil and the carcinogenic characteristics and autoimmune-inducing

 4 characteristics of Gardasil, as described in this Complaint, were known to Merck, or

 5 scientifically knowable to Merck through appropriate research and testing by known

 6 methods, at the time it distributed, supplied, or sold Gardasil, and not known to end users

 7 and consumers, such as Plaintiff and his medical providers.

 8        390. Merck knew or should have known that Gardasil and its ingredients and
 9 adjuvants created significant risks of serious bodily harm to children and patients, as
10 alleged herein, and Merck failed to adequately warn patients, parents, medical providers

11 and reasonably foreseeable users of the risks and lack of efficacy of Gardasil. Merck has

12 wrongfully concealed information concerning Gardasil’s dangerous nature and lack of

13 efficacy and has further made false and misleading statements concerning the safety and

14 efficacy of Gardasil.

15        391. At all times relevant to this litigation, Merck’s Gardasil products reached the
16 intended consumers, handlers, and users or other persons coming into contact with these

17 products throughout the United States, including Plaintiff, without substantial change in

18 their condition as manufactured, sold, distributed, labeled, and marketed by Merck.

19        392. Plaintiff was injected with Gardasil in its intended or reasonably foreseeable
20 manner     without knowledge of its unreasonable dangerous and inefficacious
21 characteristics.

22        393. Plaintiff could not have reasonably discovered the defects and risks
23 associated with Gardasil before or at the time of his injection(s). Plaintiff relied upon the

24 skill, superior knowledge, and judgment of Merck.

25        394. Merck knew or should have known that the warnings disseminated with
26 Gardasil were inadequate, and failed to communicate adequate information concerning

27 the true risks and lack of efficacy of Gardasil and failed to communicate warnings and

28 instructions that were appropriate and adequate to render the products safe for their

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 1 ordinary, intended, and reasonably foreseeable uses, including injections in teenagers.

 2        395. The information that Merck did provide or communicate failed to contain
 3 relevant warnings, hazards, and precautions that would have enabled patients, parents of

 4 patients and the medical providers of patients to properly utilize, recommend or consent

 5 to the utilization of Gardasil.     Instead, Merck disseminated information that was
 6 inaccurate, false, and misleading and which failed to communicate accurately or

 7 adequately the lack of efficacy, comparative severity, duration, and extent of the serious

 8 risk of injuries associated Gardasil; continued to aggressively promote the efficacy and

 9 safety of its products, even after it knew or should have known of Gardasil’s
10 unreasonable risks and lack of efficacy; and concealed, downplayed, or otherwise

11 suppressed, through aggressive marketing and promotion, any information or research

12 about the risks, defects and dangers of Gardasil.

13        396. To this day, Merck has failed to adequately and accurately warn of the true
14 risks of Plaintiff’s injuries, including but not limited to, autoimmune diseases, including

15 POTS and dysautonomia, associated with the use of and exposure to Gardasil, and has

16 failed to warn of the additional risks that Plaintiff is now exposed to, including, but not

17 limited to, the increased risk of cancer, and other potential side effects and ailments.

18        397. As a result of Merck’s failure to warn and false promotion, Gardasil is and
19 was defective and unreasonably dangerous when it left the possession and/or control of

20 Merck, was distributed by Merck, and used by Plaintiff.
21        398. Merck is liable to Plaintiff for injuries caused by its failure, as described
22 above, to provide adequate warnings or other clinically relevant information and data

23 regarding Gardasil, the lack of efficacy and serious risks associated with Gardasil and its

24 ingredients and adjuvants.

25        399. The defects in Merck’s Gardasil vaccine were substantial and contributing
26 factors in causing Plaintiff’s injuries, and, but for Merck’s misconduct and omissions and

27 Gardasil’s defects, including its defective labeling and false promotion, Plaintiff would

28 not have sustained his injuries which he has sustained to date, and would not have been

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 1 exposed to the additional prospective risk and dangers that are associated with Gardasil.

 2        400. Had Merck not engaged in the negligent and fraudulent conduct alleged
 3 herein and/or had Merck, via its labeling, advertisements, and promotions provided

 4 adequate and truthful warnings and properly disclosed and disseminated the true risks,

 5 limitations, and lack of efficacy associated with Gardasil to medical providers, patients

 6 and the public, then upon information and belief, Plaintiff’s medical providers would not

 7 have offered or recommended Gardasil to Plaintiff. Moreover, even if after Merck’s

 8 dissemination of truthful information concerning the true risks and efficacy limitation of

 9 Gardasil, Plaintiff’s medical providers had offered Gardasil, then upon information and
10 belief, the providers would have heeded any warnings issued by Merck and relayed to

11 Plaintiff the safety risks and efficacy limitations that Merck should have warned him

12 about, but failed to do so. Had Plaintiff been informed of the true risks and efficacy

13 limitation concerning Gardasil, through his medical providers or through Merck’s

14 ubiquitous direct-to-consumer promotional marketing, on which he relied, then Plaintiff

15 would not have consented to being injected with Gardasil.

16        401. As a proximate result of Merck’s wrongful acts and omissions and its
17 negligent and fraudulent testing, labeling, manufacturing, and promotion of Gardasil,

18 Plaintiff has suffered and continues to suffer severe and permanent physical injuries,

19 including, but not limited to, his autoimmune disease and associated symptomology and

20 has suffered severe and permanent emotional injuries, including pain and suffering.
21 Plaintiff also has a substantial fear of suffering additional and ongoing harms, including

22 but not limited to now being at an increased risk of cancer, and future symptoms and

23 harms associated with his autoimmune disease and other injuries caused by Gardasil.

24        402. As a direct and proximate result of his Gardasil-induced injuries, Plaintiff
25 has suffered and continues to suffer economic losses, including considerable financial

26 expenses for medical care and treatment, and diminished income capacity and he will

27 continue to incur these losses and expenses in the future.

28        403. Merck’s conduct, as described above, was oppressive, fraudulent, and

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 1 malicious. Merck regularly risks the lives of teenagers, including Plaintiff, with full

 2 knowledge of the limited efficacy of Gardasil and the severe and sometimes fatal dangers

 3 of Gardasil. Merck has made conscious decisions to not warn or inform the unsuspecting

 4 public, including Plaintiff and his medical providers. Merck’s conduct, including its false

 5 promotion of Gardasil and its failure to issue appropriate warnings concerning the severe

 6 risks of Gardasil, created a substantial risk of significant harm to children, teenagers, and

 7 patients who were being injected with Gardasil, and therefore warrants an award of

 8 punitive damages.

 9        404. WHEREFORE, Plaintiff requests that the Court enter judgment in his favor
10 for all compensatory and punitive damages, together with interest, and costs herein

11 incurred, and all such other and further relief as this Court deems just and proper.

12 Plaintiff also demands a jury trial on the issues contained herein.

13                                      COUNT THREE
14                                    STRICT LIABILITY
15                             (MANUFACTURING DEFECT)
16        405. Plaintiff incorporates by reference all other paragraphs of this Complaint as
17 if fully set forth herein, and further alleges:

18        406. Plaintiff brings this strict liability claim against Merck for manufacturing
19 defect.

20        407. At all times relevant to this litigation, Merck engaged in the business of
21 researching, testing, developing, manufacturing, marketing, selling, distributing, and

22 promoting Gardasil, which is defective and unreasonably dangerous to consumers,

23 including Plaintiff, because of manufacturing defects, which patients, including Plaintiff

24 and his medical providers did not expect.

25        408. Upon information and belief, the Gardasil vaccines injected into Plaintiff
26 were defective and unreasonably dangerous because they failed to comply with

27 manufacturing specifications required by the governing manufacturing protocols and

28 also required by the regulatory agencies, including but not limited to the FDA, by among

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 1 other things, containing ingredients and toxins that were not disclosed in the FDA-

 2 approved specifications and/or otherwise not disclosed in the package insert.

 3       409. Upon information and belief, and as way of example, the Gardasil injected
 4 into Plaintiff was defective and unreasonably dangerous because it failed to comply with

 5 the approved manufacturing specifications, by containing dangerous and undisclosed

 6 HPV L1-DNA fragments, and these DNA fragments could act as a Toll-Like Receptor 9

 7 (TLR9) agonist, further adjuvanting the vaccine and making it more potent and

 8 dangerous than intended.

 9       410. Upon information and belief, and as way of example, the Gardasil injected
10 into Plaintiff was defective and unreasonably dangerous because it failed to comply with

11 the approved manufacturing specifications, by containing dangerous and undisclosed

12 ingredients and neurotoxins, including but not limited to, phenylmethylsulfonyl fluoride

13 (PMSF), a toxic nerve agent that is not intended for human consumption or injections.

14       411. At all times relevant to this litigation, Merck’s Gardasil products reached the
15 intended consumers, handlers, and users or other persons coming into contact with these

16 products throughout the United States, including Plaintiff, without substantial change in

17 their condition as designed, manufactured, sold, distributed, labeled, and marketed by

18 Merck.

19       412. Plaintiff and his medical providers could not reasonably have discovered the
20 defects, including the manufacturing defects, and risks associated with Gardasil before
21 or at the time of his injection(s). Plaintiff relied upon the skill, superior knowledge, and

22 judgment of Merck.

23       413. Merck is liable to Plaintiff for injuries caused as a result of its manufacturing
24 defects.

25       414. The defects in Merck’s Gardasil vaccine were substantial and contributing
26 factors in causing Plaintiff’s injuries, and, but for Merck’s misconduct and omissions

27 and Gardasil’s defects, including but not limited to its manufacturing defects, Plaintiff

28 would not have sustained the injuries he has sustained to date, and would not have been

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 1 exposed to the additional prospective risk and

 2 dangers associated with Gardasil.

 3         415. As a proximate result of Merck’s wrongful acts and Gardasil’s
 4 manufacturing defects, Plaintiff has suffered and continues to suffer severe and

 5 permanent physical injuries and associated symptomology and has suffered severe and

 6 permanent emotional injuries, including pain and suffering.          Plaintiff also has a
 7 substantial fear of suffering additional and ongoing harms, including but not limited to

 8 now being at an increased risk of cancer, and future symptoms and harms associated with

 9 his autoimmune disease and other injuries caused by Gardasil.
10         416.   As a direct and proximate result of his Gardasil-induced injuries, Plaintiff
11 has suffered and continues to suffer economic losses, including considerable financial

12 expenses for medical care and treatment, and diminished income capacity, and he will

13 continue to incur these losses and expenses in the future.

14         417. Merck’s conduct, as described above, was oppressive, fraudulent, and
15 malicious. Merck regularly risks the lives of patients, including Plaintiff, with full

16 knowledge of the limited efficacy of Gardasil and the severe and sometimes fatal dangers

17 of Gardasil.     Merck has made conscious decisions to not warn, or inform the
18 unsuspecting public, including Plaintiff, and his medical providers. Merck’s conduct,

19 including its false promotion of Gardasil and its failure to issue appropriate warnings

20 concerning the severe risks of Gardasil, created a substantial risk of significant harm to
21 children and patients who were being injected with Gardasil, and therefore warrants an

22 award of punitive damages.

23         418. WHEREFORE, Plaintiff requests that the Court enter judgment in his favor
24 for compensatory and punitive damages, together with interest, and costs herein incurred,

25 and all such other and further relief as this Court deems just and proper. Plaintiff also

26 demands a jury trial on the issues contained herein.

27 ///

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 1                                       COUNT FOUR
 2                          BREACH OF EXPRESS WARRANTY
 3        419. Plaintiff incorporates by reference all other paragraphs of this Complaint as
 4 if fully set forth herein, and further alleges:

 5        420. Merck engaged in the business of testing, researching, manufacturing,
 6 labeling, marketing, selling, distributing, and promoting Gardasil, which is defective and

 7 unreasonably dangerous to consumers, including Plaintiff.

 8        421. At all times relevant to this litigation, Merck expressly represented and
 9 warranted through statements made in its Gardasil label, publications, television
10 advertisements, billboards, print advertisements, online advertisements and website, and

11 other written materials intended for consumers, patients, parents of minor-aged patients,

12 medical providers and the general public, that Gardasil was safe and effective at

13 preventing cancer.      Merck advertised, labeled, marketed, and promoted Gardasil,
14 representing the quality to consumers, patients, medical providers and the public in such

15 a way as to induce their purchase or use, thereby making an express warranty that

16 Gardasil would conform to the representations.

17        422. These express representations included incomplete warnings and
18 instructions that purport, but fail, to include the complete array of risks associated with

19 Gardasil. Merck knew and/or should have known that the risks expressly included in

20 Gardasil’s promotional material and labels did not and do not accurately or adequately
21 set forth the risks of developing the serious injuries complained of herein. Nevertheless,

22 Merck falsely and expressly represented that Gardasil was “safe” for use by individuals

23 such as Plaintiff, and/or that Gardasil was “effective” in preventing cancer and that

24 anyone who was vaccinated with Gardasil would be “one less” person with cancer.

25        423. The representations about Gardasil, as set forth herein, contained or
26 constituted affirmations of fact or promises made by the seller to the buyer, which related

27 to the goods and became part of the basis of the bargain, creating an express warranty

28 that the goods would conform to the representations.

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 1       424. Merck breached these warranties because, among other things, Gardasil is
 2 ineffective at preventing cancer, defective, dangerous, unfit for use, and is associated

 3 with a myriad of dangerous and undisclosed risks, including, but not limited to, the risk

 4 of autoimmune disease, including POTS, the risk of developing cervical cancer in

 5 women (even though Merck promoted it as preventing cervical cancer), and the risk of

 6 fertility problems for young girls. Specifically, Merck breached the warranties in the

 7 following ways:

 8             a)     Representing to patients and the medical community, including
 9                    Plaintiff, his
10                    parents and/or his medical providers that Gardasil is effective in
11                    preventing cancer, including anal and cervical cancer, when Merck
12                    knew that contrary to these representations (i) no clinical studies were
13                    performed to test if Gardasil prevents cancer; (ii) the clinical studies
14                    confirmed that Gardasil is indeed ineffective when used in patients
15                    who have previously been exposed to HPV, and that Gardasil actually
16                    increases the risk of cancer in a patient who has been previously
17                    exposed to HPV; and (iii) there are safer and more effective methods
18                    of monitoring for and attempting to prevent cervical or anal cancer,
19                    including but not limited to regular testing, such as regular Pap smears
20                    for cervical cancer, and monitoring for anal cancer.
21             b)     Representing to patients and the medical community, including
22                    Plaintiff and his medical providers that Gardasil is safe, when in
23                    reality, Gardasil causes and presents serious risks of cancer,
24                    autoimmune disease, including but not limited to POTS, and other
25                    grave illnesses as outlined herein;
26             c)     Engaging in false advertising and disease mongering by scaring
27                    parents and teenagers into believing that cervical and anal cancer is
28                    far more prevalent than it really is; that all cervical and anal cancer

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 1                     was linked to HPV; that Gardasil prevented cervical cancer, when in
 2                     reality none of these representations were true as cervical cancer rates
 3                     were declining in the United States due to Pap testing and Gardasil has
 4                     not been shown to prevent against all strains of HPV that are
 5                     associated with cervical cancer and indeed it has never been shown to
 6                     prevent cervical or anal cancer.
 7        425. Merck had sole access to material facts concerning the nature of the risks
 8 and defects associated with Gardasil as expressly stated within its promotional material

 9 and labels, and Merck knew that patients and users such as Plaintiff could not have
10 reasonably discovered the truth about the inefficacies and serious risks associated with

11 Gardasil as alleged herein.

12        426. Plaintiff had no knowledge of the falsity or incompleteness of Merck’s
13 statements and representations concerning Gardasil.

14        427. Plaintiff was exposed to and relied upon the ubiquitous promotional material
15 and representations Merck made in its direct-to-consumer advertisements and marketing

16 materials concerning the safety and efficacy of Gardasil, including: that Gardasil

17 prevents cervical and anal cancer and these cancers are prevalent (even though children

18 rarely get cervical or anal cancer and Pap tests are the best frontline defense in detecting

19 and fighting cervical cancer); that “good mothers” vaccinate their children and that

20 Gardasil is perfectly safe. However, had Merck in these advertisements not engaged in
21 disease mongering and deception, but instead had informed him the truth about the

22 serious risks of Gardasil (as outlined in this Complaint) and its lack of efficacy, he would

23 never have consented to being injected with Gardasil, nor would Plaintiff have consented

24 to the Gardasil injection(s) had he been adequately informed about the questionable

25 efficacy and serious risks associated with Gardasil.

26        428. As a proximate result of Merck’s wrongful acts and breaches of warranties
27 concerning the safety and efficacy of Gardasil, Plaintiff has suffered and continues to

28 suffer severe and permanent physical injuries, and associated symptomology and has

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 1 suffered severe and permanent emotional injuries, including pain and suffering. Plaintiff

 2 also has a substantial fear of suffering additional and ongoing harms, including but not

 3 limited to now being at an increased risk of cancer, and future symptoms and harms

 4 associated with his autoimmune disease and other injuries caused by Gardasil.

 5        429.     As a direct and proximate result of his Gardasil-induced injuries, Plaintiff
 6 has suffered and continues to suffer economic losses, including considerable financial

 7 expenses for medical care and treatment, and diminished income capacity and he will

 8 continue to incur these losses and expenses in the future.

 9        430. Merck’s conduct, as described above, was oppressive, fraudulent, and
10 malicious. Merck regularly risks the lives of patients, including Plaintiff, with full

11 knowledge of the limited efficacy of Gardasil and the severe and sometimes fatal dangers

12 of Gardasil. Merck has made conscious decisions to not warn, or inform the unsuspecting

13 public, including Plaintiff and his medical providers. Merck’s conduct, including its false

14 promotion of Gardasil and its failure to issue appropriate warnings concerning the severe

15 risks of Gardasil, created a substantial risk of significant harm to children and patients

16 who were being injected with Gardasil, and therefore warrants an award of punitive

17 damages.

18        431. WHEREFORE, Plaintiff requests that the Court enter judgment in his favor
19 for compensatory and punitive damages, together with interest, and costs herein incurred,

20 and all such other and further relief as this Court deems just and proper. Plaintiff also
21 demands a jury trial on the issues contained herein.

22                                        COUNT FIVE
23                                 COMMON LAW FRAUD
24        432. Plaintiff incorporates by reference all other paragraphs of this Complaint as
25 if fully set forth herein, and further alleges:

26        433. Merck is the researcher, manufacturer, labeler, and promoter of Gardasil.
27        434. Merck marketed Gardasil to and for the benefit of patients, including
28 teenagers such as Plaintiff and his medical providers.

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 1        435. Merck had a duty to deal honestly and truthfully with regulators, patients,
 2 consumers and medical providers in its development, testing, marketing, promotion, and

 3 sale of Gardasil.

 4        436. Merck’s duty of care owed to patients and medical providers included
 5 providing accurate, complete, true, and correct information concerning the efficacy and

 6 risks of Gardasil in its direct-to-consumer advertisements, promotional material, and

 7 labeling.

 8        437. At all times relevant to this litigation, Merck knew or should have known of
 9 the hazards and dangers of Gardasil and specifically, the serious, debilitating and
10 potentially fatal adverse events associated with Gardasil, including but not limited to

11 autoimmune diseases, increased risk of cancer, and death.

12        438. At all times relevant to this litigation, Merck knew or should have known
13 that its poorly designed clinical trials and studies were insufficient to test the true long-

14 term safety and efficacy of Gardasil.

15        439. At all times relevant to this litigation, Merck expressly represented through
16 statements it made in its publications, ubiquitous television advertisements, billboards,

17 print advertisements, online advertisements and website, and other written materials

18 intended for consumers, patients, parents of minor-aged patients, medical providers and

19 the general public, that Gardasil was safe and effective at preventing cancer.

20        440. These express representations included incomplete warnings and
21 instructions that purport, but fail, to include the complete array of risks associated with

22 Gardasil. By way of example Merck’s marketing material, including its “One Less”

23 television and print advertisement campaign (including but not limited to Gardasil

24 posters in medical facilities and doctors’ offices), which Plaintiff had been exposed to,

25 stated that Gardasil was safe, that Gardasil was effective in preventing cancer, that

26 Gardasil was a “cervical cancer vaccine,” and that any young child or teenager who was

27 vaccinated with Gardasil would lead to “one less” person with cervical or anal cancer.

28 The only safety warnings Merck provided in these marketing materials was that a patient

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 1 could get pain, swelling or redness at injection site, fever, and/or nausea.

 2       441. The ubiquitous nature of these Gardasil commercials and the Gardasil
 3 marketing campaign gave the impression that cervical cancer was on the rise and more

 4 prevalent than it actually was, and that all good mothers vaccinate their children with the

 5 “cervical cancer vaccine.”

 6       442. Merck knew or should have known that the risks expressly included in
 7 Gardasil’s promotional material and labels did not and do not accurately or adequately

 8 set forth the true and complete risks of developing the serious injuries that are associated

 9 with Gardasil, as previously alleged herein, and which include but are not limited to
10 POTS, systemic adverse events, autoimmune disease, increased risk of cancer, and death.

11       443. Plaintiff had been exposed to Merck’s marketing material concerning
12 Gardasil, including the aforementioned “One Less” marketing campaign and other print

13 advertisements and posters at doctors’ offices, and the representations made by Merck

14 therein that Gardasil is effective at preventing cervical and anal cancer, that Gardasil is

15 safe and that its only side-effects are essentially minor injection site pain and swelling,

16 and the possible onset of a fever or nausea. Prior to providing consent to inject Plaintiff

17 with the Gardasil vaccine, Plaintiff was never informed by Merck, or anyone else, that

18 Gardasil is linked to a host of serious debilitating and chronic adverse events including,

19 autoimmune diseases (including, but not limited to, POTS), increased risk of cancer, and

20 death.
21       444. Prior to providing consent to inject Plaintiff with the Gardasil vaccine,
22 Plaintiff was never informed by Merck, or anyone else, that Merck had not conducted

23 the proper testing necessary to demonstrate the efficacy and full safety of Gardasil.

24       445. Prior to providing consent to inject Plaintiff with the Gardasil vaccine,
25 Plaintiff was never informed by Merck, or anyone else, that Merck had, as alleged herein,

26 manipulated its clinical studies to mask and conceal the adverse events associated with

27 Gardasil.

28       446. Prior to providing consent to inject Plaintiff with the Gardasil vaccine,

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 1 Plaintiff was never informed by Merck, or anyone else, that the Gardasil clinical trials

 2 never established that Gardasil can prevent cervical or anal cancer, even though Merck

 3 in its promotional material falsely represented that Gardasil was a “cervical cancer

 4 vaccine” and that a patient who received Gardasil would result in “one less” woman or

 5 man getting cancer.

 6        447. Merck’s representations were false, because in truth, Gardasil has not been
 7 proven to prevent cervical or anal cancer and is associated with a myriad of dangerous

 8 and undisclosed risks, including, but not limited to, the risk of autoimmune disease,

 9 including POTS, increased risk of developing cancer, and other serious side effects. The
10 false representations Merck made to the patients, children, teenagers, the parents of

11 children and teenagers, the medical community, including to Plaintiff, included:

12             a)     that Gardasil is effective in preventing cervical and anal cancer, when
13                    Merck knew that, contrary to these representations (i) no clinical
14                    studies were performed to test whether Gardasil prevents cancer; and
15                    (ii) the clinical studies confirmed that Gardasil is indeed ineffective
16                    when used in patients who have previously been exposed to HPV, and
17                    that Gardasil actually increases the risk of cervical cancer in any child
18                    or patient who has been previously exposed to HPV;
19             b)     that Gardasil is safe, when in reality, Gardasil causes and presents
20                    severe risks of cancer (including cervical cancer, the very cancer it is
21                    promoted as preventing), fertility problems, autoimmune disease,
22                    including POTS, OI, and other grave illnesses;
23             c)     false advertising and disease mongering by scaring parents into
24                    believing that cervical and anal cancer were far more prevalent than it
25                    really was; that Gardasil prevented cervical and anal cancer; and that
26                    Gardasil only had risks of injection site pain and fever, when in reality
27                    none of these representations were true as cervical cancer rates were
28                    declining in the United States due to Pap testing and Gardasil has not

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 1                     been shown to prevent cervical or anal cancer, and indeed some
 2                     studies demonstrated that it actually increased the risk of cervical
 3                     cancer; and Gardasil was linked to a host of serious, chronic and
 4                     sometimes fatal diseases, including autoimmune diseases, as
 5                     previously outlined in this Complaint.
 6        448. These representations and other similar representations were made by Merck
 7 to the public, including to Plaintiff, with the intent that parents would either seek out

 8 Gardasil from their medical providers or otherwise would provide their consent when

 9 they were offered Gardasil.
10        449. At the time he provided his consent to the Gardasil injections, Plaintiff was
11 not aware of the falsity of Merck’s aforementioned representations concerning the safety

12 and efficacy of Gardasil.

13        450. Plaintiff reasonably and justifiably relied upon the truth of the assurance
14 made by Merck in its direct-to-consumer marketing concerning the efficacy and safety

15 of Gardasil (which were also echoed by Plaintiff’s medical providers), when he provided

16 consent to be injected with the Gardasil vaccine.

17        451. Had Merck’s advertisements and promotional material, which Merck
18 targeted to teenagers and the parents of teenagers, and which Plaintiff received and on

19 which he relied, provided complete and truthful warnings and properly disclosed and

20 disseminated the true risks, limitations and lack of efficacy associated with Gardasil, then
21 Plaintiff would not have consented to being injected with Gardasil.

22        452. Merck also engaged in a number of additional fraudulent activities that led
23 to regulators, medical providers (upon information and belief, including but not limited

24 Plaintiff’s medical providers), and the general public (including directly and/or indirectly

25 Plaintiff) to be duped into believing that Gardasil is safe and effective. These fraudulent

26 acts are outlined in greater detail in the preceding paragraphs of this Complaint, and

27 included, among others:

28              a)     Failing to test Gardasil against a true inert placebo and lying to the

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 1                    public that Gardasil was tested against a placebo, when in reality, all,
 2                    or nearly all, studies used a toxic placebo that included the dangerous
 3                    aluminum adjuvant AAHS.
 4              b)    Failing to conduct a sufficient number of studies for the targeted
 5                    patient population which included pre-teen girls (and boys) between
 6                    the ages of nine and 12.
 7              c)    Not using the commercial dosage (and instead using a lower dosage
 8                    of the
 9                    adjuvant and ingredients) in one of the key clinical trials, which was
10                    used to obtain licensing for the commercial dosage of Gardasil;
11              d)    Using very restrictive exclusionary criteria in the clinical study patient
12                    population (including for example, exclusion of anyone who had prior
13                    abnormal Pap tests, who had a history of immunological or nervous
14                    system disorders or was allergic to aluminum or other ingredients),
15                    but then not revealing or warning about these exclusionary criteria in
16                    the label and knowing that for most of these ingredients and allergies,
17                    there are limited resources for the public to test for such allergies in
18                    advance of being vaccinated;
19              e)    Failing to disclose all of the ingredients in Gardasil, including but not
20                    limited to the fact that Gardasil contains dangerous HPV L1-DNA
21                    fragments and that these DNA fragments could act as a Toll-Like
22                    Receptor 9 (TLR9) agonist – further adjuvanting the vaccine and
23                    making it more potent and dangerous.
24        453. Merck engaged in the above mentioned fraudulent conduct as well as the
25 additional fraudulent conduct detailed throughout this Complaint with the intent to

26 enhance Gardasil’s safety and efficacy profile and to conceal Gardasil’s serious risks and

27 efficacy shortcomings in order to secure regulatory approval and more importantly, so as

28 to encourage physicians and medical providers to recommend Gardasil to patients and to

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 1 prepare and encourage patients to request and consent to Gardasil injections.

 2        454. Plaintiff could not reasonably have discovered the falsity of Merck’s
 3 representations, the fraudulent nature of Merck’s conduct, and the defects and risks

 4 associated with Gardasil before or at the time of his injections. Plaintiff relied upon the

 5 skill, superior knowledge, and judgment of Merck, the manufacturer, labeler, and

 6 promoter of Gardasil, and they detrimentally relied upon Merck’s fraudulent, false, and

 7 misleading statements, omissions, and conduct.

 8        455. As a proximate result of Merck’s fraudulent, false, and misleading
 9 statements, omissions, and conduct concerning the safety and efficacy of Gardasil,
10 Plaintiff has suffered and continues to suffer severe and permanent physical injuries, and

11 associated symptomology and has suffered severe and permanent emotional injuries,

12 including pain and suffering. Plaintiff also has a substantial fear of suffering additional

13 and ongoing harms, including but not limited to now being at an increased risk of cancer,

14 and future symptoms and harms associated with his autoimmune disease and other

15 injuries caused by Gardasil.

16        456.    As a direct and proximate result of his Gardasil-induced injuries, Plaintiff
17 has suffered and continues to suffer economic losses, including considerable financial

18 expenses for medical care and treatment, and diminished income capacity and he will

19 continue to incur these losses and expenses in the future.

20        457. Merck’s conduct, as described above, was oppressive, fraudulent, and
21 malicious. Merck regularly risks the lives of patients, including Plaintiff, with full

22 knowledge of the limited efficacy of Gardasil and the severe and sometimes fatal dangers

23 of Gardasil. Merck has made conscious decisions to not warn, or inform the unsuspecting

24 public, including Plaintiff and his medical providers. Merck’s conduct, including its false

25 promotion of Gardasil and its failure to issue appropriate warnings concerning the severe

26 risks of Gardasil, created a substantial risk of significant harm to children and patients

27 who were being injected with Gardasil.

28        458. WHEREFORE, Plaintiff requests that the Court enter judgment in his favor

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 1 for compensatory and punitive damages, together with interest, and costs herein incurred,

 2 and all such other and further relief as this Court deems just and proper. Plaintiff also

 3 demands a jury trial on the issues contained herein.

 4                                         COUNT SIX
 5         VIOLATION OF CALIFORNIA’S UNFAIR COMPETITION LAW
 6         465. Plaintiff incorporates by reference all other paragraphs of this Complaint as
 7 if fully set forth herein, and further alleges:

 8         466.     California’s Unfair Competition Law (“UCL”), Cal. Bus. & Prof. Code
 9 §§ 17200, et seq., protects both consumers and competitors by promoting fair
10 competition in commercial markets for goods and services.              California’s Unfair
11 Competition Law is interpreted broadly and provides a cause of action for any unlawful,

12 unfair, or fraudulent business act or practice.      Any unlawful, unfair, or fraudulent
13 business practice that causes injury to consumers falls within the ambit of California’s

14 Unfair Competition Law.

15         467. Merck engaged in substantial advertising and marketing of Gardasil within
16 the State of California.

17         468. Because of Merck’s unlawful, fraudulent, and unfair business practices,
18 Plaintiff was misled into purchasing and consenting to the Gardasil injection(s).

19         469. As set forth in the preceding paragraphs, Defendants has engaged in the
20 unlawful business practice of misleading Plaintiff regarding the Gardasil vaccines’ true
21 safety. Defendants’ deceptive and unlawful marketing practices have violated numerous

22 California laws, including, inter alia: Cal. Civ. Code §§ 1709, et seq. (fraudulent deceit);

23 Cal. Civ. Code §§ 1571, et seq. (fraud); Cal. U. Com. Code §§ 2313-15 (breach of express

24 warranty); Cal. Bus. & Prof. Code §§ 17500, et seq. (false advertising and marketing);

25 and Cal. Civ. Code §§ 1750, et seq. (violations of California’s Consumer Legal Remedies

26 Act).

27         470. Merck widely advertised and promoted Gardasil as a safe and effective
28 vaccine that had no serious side effects.

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 1        471. Yet, contrary to its above referenced false claims concerning the safety and
 2 efficacy of Gardasil, Merck knew, or should have known, that Gardasil was ineffective,

 3 unreasonably dangerous and defective, and had a propensity to cause serious and life-

 4 threatening side effects, including but not limited to autoimmune diseases and other grave

 5 injuries as outlined in this Complaint.

 6        472. The false, deceptive, and misleading actions, statements, and representations
 7 made by Merck, as alleged in this Complaint, are unlawful, fraudulent, and unfair

 8 business practices and acts within the meaning of the UCL. See e.g., Cal. Bus. & Prof.

 9 Code §§ 17200 et seq.
10        473. Merck’s concealment of the autoimmune risks and other adverse events
11 outlined in this Complaint was a material omission that consumers, patients, parents, and

12 prescribing healthcare professionals should have known about prior to purchasing,

13 consenting to injections of, or prescribing Gardasil.

14        474. Merck’s concealment of the lack of efficacy and false representations
15 concerning the efficacy of Gardasil in preventing cancer was a material false

16 representation and omission that consumers, patients, parents, and prescribing healthcare

17 professionals should have known about prior to purchasing, consenting to injections of,

18 or prescribing Gardasil.

19        475. Merck had sole access to material facts concerning the nature of the risks
20 and defects associated with Gardasil as expressly stated within its promotional material
21 and labels, and Merck knew that patients and users such as Plaintiff and his medical

22 providers could not have reasonably discovered the truth about the inefficacies and

23 serious risks associated with Gardasil as alleged herein.

24        476. Plaintiff had no knowledge of the falsity or incompleteness of Merck’s
25 statements and representations concerning Gardasil.

26        477. Plaintiff reasonably and justifiably relied upon the truth of the assurance
27 made by Merck in its direct-to-consumer marketing concerning the efficacy and safety

28 of Gardasil (which were also echoed by Plaintiff’s medical providers), when he provided

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 1 his consent to being injected with the Gardasil vaccine.

 2        478. Had Merck’s advertisements and promotional material, which Merck
 3 targeted to

 4 teenagers and the parents of teenagers, and which Plaintiff received and on which he

 5 relied, provided complete and truthful warnings and properly disclosed and disseminated

 6 the true risks, limitations, and lack of efficacy associated with Gardasil, then Plaintiff

 7 would never have consented to being injected with Gardasil.

 8        479. As a direct and proximate result of Merck’s unlawful, fraudulent, and unfair
 9 business practices, Plaintiff has sustained injuries and economic damages as outlined
10 herein, including but not limited to, agreeing to being injected with Gardasil, which upon

11 information and belief, costs more than $100 per vile.

12        480. As a result of Merck’s violation of the UCL, Plaintiff seeks an order of this
13 Court enjoining Merck from continuing these unlawful, fraudulent, and unfair practices

14 and awarding Plaintiff remedies, including but not limited to disgorgement of Merck’s

15 profits, restitution, fees, and all other remedies available under law.

16        481. WHEREFORE, Plaintiff requests that the Court enter judgment in his favor
17 for restitution, disgorgement of Merck’s ill-gotten profits, punitive damages, and all other

18 permissible monetary relief, together with interest, costs herein incurred, attorney fees

19 pursuant to California Code of Civil Procedure Section 1021.5, and all such other and

20 further relief as this Court deems just and proper. Plaintiff also requests that the Court
21 issue an injunction prohibiting Merck from continuing its false advertising and unlawful

22 acts and practices concerning Gardasil and to grant any other preliminary or permanent

23 equitable relief as deemed appropriate.

24                                  PRAYER FOR RELIEF
25        WHEREFORE, Plaintiff, Jacob Levy, by and through his Guardian ad Litem,
26 Juliette Levy, requests that the Court enter judgment in his favor and against Merck &

27 Co., Inc., and Merck, Sharp & Dohme Corp. (collectively “Merck”) as to all causes of

28 action, and awarding as follows:

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 1        A.    For compensatory damages, in an amount exceeding this Court’s
 2              jurisdictional minimum and to be proven at trial;
 3        B.    For economic and non-economic damages in an amount to be proven at trial;
 4        C.    For medical, incidental, hospital, psychological and other expenses in an
 5              amount to be proven at trial;
 6        D.    For loss of earnings and earnings capacity, in an amount to be proven at trial;
 7        E.    For an award of pre-judgment and post-judgment interest as provided by law;
 8        F.    For exemplary and punitive damages against Merck;
 9        G.    For preliminary and/or permanent injunctive relief against Merck;
10        H.    For an award providing for payment of reasonable fees, court costs, and other
11              litigation expenses as permitted by law;
12        I.    For such other and further relief as this Honorable Court may deem just and
13              proper.
14                              DEMAND FOR JURY TRIAL
15        Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiff, Jacob
16 Levy, by and through his Guardian ad Litem, Juliette Levy, hereby demands a jury trial

17 on all of his claims, causes of action and issues that are triable by jury.

18

19 Dated: March 21, 2022                        A. LIBERATORE, P.C.

20
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